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LARA SHALOV MEHRABAN                                                      ^A    »•

ACTING REGIONAL DIRECTOR                                                              ('.. 7   ;■   : iiw.'"   vJ

Sheldon L.Pollock
                                                                                                     -.ri
Steven G. RawUngs
Lee A. Greenwood
Philip A.Fortino
Megan R. Genet
Attorneys for Plaintiff                                                  22-MC-113-S
SECURITIES AND EXCHANGE COMMISSION
New York Regional Office
100 Pearl Street, Suite 20-100
New York,New York 10004-2616
212-336-1060(Greenwood)
GreenwoodL@sec.gov

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,
                                                                    COMPLAINT
                              Plaintiff,
                                                                   22 Civ. 3897
                 -against-

STRAIGHTPATH VENTURE PARTNERS LLC,                                 JURY TRIAL DEMANDED
STRAIGHTPATH MANAGEMENT LLC,BRIAN
K. MARTINSEN,MICHAEL A. CASTILLERO,
FRANCINE A.LANAIA,and ERIC D.
LACHOW,

                              Defendants.



       Plaintiff Securities and Exchange Commission ("Commission"), for its Complaint against

Defendants StraightPath Venture Partners LLC (the "SP Fund Manager"), StraightPath

Management LLC (the "SP Adviser"), Brian K. Martinsen ("Martinsen"), Michael A. Castillero

("Castillero"), Francine A. Lanaia ("Lanaia"), and Eric D. Lachow ("Lachow") (collectively,

"Defendants"), alleges as follows;

                                             SUMMARY


        1.       The Commission brings this emergency action to halt an ongoing fraud by

Defendants in connection with their illegal sales of unregistered securities in investment vehicles that
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purportedly provided access to highly-coveted shares of private companies that may hold an initial

public offering ("IPO"). But, these investment vehicles were a fraud—they did not own all the

private company stock Defendants said they did, the investors paid exorbitant, undisclosed fees that

allowed Defendants to pocket tens of millions of dollars, and Defendants improperly commingled

investor funds and made Ponzi-like payments.

        2.       From November 2017 through February 2022, Defendants raised at least $410

million from more than 2,200 investors located across the country and around the world,including

in this District. In exchange for their investments,investors received securities—^interests in a

subdivision ("Series") of one of nine private investment funds (an "SP Fund").

        3.       Through both written materials and their vast network of sales agents. Defendants

represented to investors that their investments would be directed to a specific Series that

purportedly owned a specific number of shares of a specific private company that had the potential

to undertake an IPO ("Pre-IPO Shares"). Defendants then told investors that their investment

corresponded to a specific number of Pre-IPO Shares held by that Series. In essence. Defendants

pitched the investment as a way for retail investors to own potentially lucrative, difficult-to-find Pre-

IPO Shares that could not yet be purchased on a public stock exchange.

        4.       Contrary to these representations, however. Defendants often were unable to obtain

the number of Pre-IPO Shares they either claimed to already have or needed to back the interests

they sold to investors. And,rather than return the money investors paid them. Defendants kept it

for themselves and continued to solicit new investors.


        5.       Defendants also repeatedly told investors that each Series would be kept separate

from all other Series, thus (in theory) protecting their investments from losses from another Series

backed by other Pre-IPO Shares that were less profitable. But instead. Defendants freely

commingled investor funds, frequently transferring monies invested in one SP Fund to other SP
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Funds or to the SP Fund Manager in order to make purchases of Pre-IPO Shares or Ponzi-like

payments back to earlier investors who wanted their money back.

        6.       All the while. Defendants profited handsomely from their fraudulent scheme. Even

as they told investors they were charging no upfront fees (or had waived the fees they could have

charged), Martinsen, Castillero, Lanaia, and Lachow paid themselves more than $75 million and their

sales agents nearly $48 million.

        7.       Defendants also concealed from investors the continuing roles of Castillero and

Lanaia, two of the three founders, who were effectively barred from the brokerage industry but who

operated behind the scenes to run the SP Funds and further the fraud. And, when the Commission

staff sought copies of the emails of sales agents during its investigation, Castillero and Martinsen

intentionally deleted them to avoid implicating themselves.

        8.       In addition to the fraud the perpetrated on investors. Defendants violated the

securities and broker-dealer registration provisions of the securities laws. None of the interests in

the SP Funds were registered with the Commission and no exemption from registration applied to

these securities offerings because, among other reasons, Castillero—a founder of the SP Fund

Manager and the head ofits salesforce—^was barred from the brokerage industry. And,Defendants

ran an unregistered broker-dealer through their use of sales agents (including Lachow) who were not

licensed brokers and to whom they paid commissions.

        9.       Emergency relief is necessary to protect investors in the SP Funds, which currently

hold substantial cash and securities with an estimated value of more than $200 million. In particular,

an asset freeze and receiver are necessary to prevent the further dissipation of assets and to ensure

that an independent fiduciary takes over the management of the SP Funds, the SP Fund Manager,

and the SP Adviser. Only a court-appointed receiver will be able to unwind Defendants'
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commingling,identify the full extent of Defendants' fraud, and marshal investor assets in order to

propose an equitable distribution plan.

                                           VIOLATIONS


         10.    By virtue of the foregoing conduct and as alleged further herein. Defendants have

violated Sections 5(a), 5(c), and 17(a) of the Securities Act of 1933 ("Securities Act")[15 U.S.C.

§§ 77e(a), 77e(c), and 77q(a)], Sections 10(b) and 15(a) of the Securities Exchange Act of 1934

("Exchange Act")[15 U.S.C. §§ 78j(b) and 78o(a)] and Rule lOb-5 thereunder [17 C.F.R. § 240.10b-

5]; and Sections 206(1), 206(2), 206(3), 206(4), and 207 of the Investment Advisers Act of 1940

("Advisers Act")[15 U.S.C. §§ 80b-6(l),(2),(3), and (4)] and Rule 206(4)-8 thereunder [17 C.F.R.

§ 275.206(4)-8].

         11.    Unless Defendants are restrained and enjoined, they will engage in the acts, practices,

transactions, and courses of business set forth in this Complaint or in acts, practices, transactions,

and courses of business of similar type and object.

               NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT


         12.    The Commission brings this action pursuant to the authority conferred upon it by

Securities Act Sections 20(b) and 20(d)[15 U.S.C. §§ 77t(b) and 77t(d)]; Exchange Act Section 21(d)

[15 U.S.C. § 78u(d)]; and Advisers Act Sections 209(d) and 209(e)[15 U.S.C. §§ 80b-9(d) and 80b-

9(e)].

         13.    The Commission seeks a final judgment: (a) permanently enjoining Defendants

from violating the federal securities laws and rules this Complaint alleges they have violated;

(b) ordering Defendants to disgorge the ill-gotten gains they received as a result of the violations

alleged here and to pay prejudgment interest thereon pursuant to Exchange Act Sections 21(d)(5)

and 21(d)(7)[15 U.S.C. §§ 78u(d)(5), and 78u(d)(7)];(c) ordering Defendants to pay civil money

penalties pursuant to Securities Act Section 20(d)[15 U.S.C. § 77t(d)], Exchange Act Section
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21(d)(3)[15 U.S.C. § 78u(d)(3)], and Advisers Act Section 209(e)[15 U.S.C. § 80b-9(e)]; and

(d) ordering any other and further relief the Court may deem just and proper.

        14.     To maintain the status quo and preserve assets sufficient for Defendants to pay

disgorgement, prejudgment interest, and civil penalties in accordance with any final judgment of this

Court, the Commission further seeks emergency relief during the pendency of this action including:

(a) temporarily and preliminarily enjoining Defendants from violating the federal securities laws and

rules this Complaint alleges they have violated;(b) freezing the assets of the SP Fund Manager, the

SP Adviser, Martinsen, Castdllero, and Lanaia;(c) appointing a receiver over the SP Funds, the SP

Fund Manager, the SP Adviser, and the frozen personal assets of Martinsen, Castdllero, and Lanaia;

(d) enjoining the filing of new bankruptcy, foreclosure, receivership or other actions against the SP

Funds, the SP Fund Manager, and the SP Adviser;(e) requiring the SP Fund Manager, the SP

Adviser, Martinsen, Castdllero, and Lanaia to provide a sworn accounting;(f) granting expedited

discovery; and(^ preventing Defendants from destroying, altering, or concealing documents or

other evidence or from directing others to do so.

                                 JURISDICTION AND VENUE

        15.     This Court has jurisdiction over this action pursuant to Securities Act Section 22(a)

[15 U.S.C. § 77v(a)]; Exchange Act Section 27 [15 U.S.C. § 78aa]; and Advisers Act Section 214(a)

[15 U.S.C. § 80b-14(a)].

        16.     Defendants, directly and indirectly, have made use of the means or instrumentalities

of interstate commerce or of the mails in connection with the transactions, acts, practices, and

courses of business alleged herein.

        17.     Venue lies in this District under Securities Act Section 22(a)[15 U.S.C.§ 77v(a)],

Exchange Act Section 27[15 U.S.C. § 78aa], and Advisers Act Section 214 [15 U.S.C. § 80b-14].

From 2017 untdl 2021, the primary office for the SP Fund Manager and the SP Adviser was in lower
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Manhattan, which Castillero and, at various times, Martinsen, Lanaia, and Lachow, used to conduct

the business of these entities. Additionally, certain acts, practices, transactions, and courses of

business alleged in this Complaint occurred within this District, including calls and emails to

prospective investors in the SP Funds as well as sales of Series interests in the SP Funds to at least

94 investors located in Manhattan and elsewhere in this District.


                                           DEFENDANTS


        18.     The SP Fund Manager is a Delaware limited liability company incorporated on May

11, 2017, which served as the owner and manager of each of the SP Funds. From 2017 until mid-

2021, the SP Fund Manager's office was in Manhattan; in mid-2021, it moved its office to Jupiter,

Florida. The SP Fund Manager has never been registered with the Commission as a broker-dealer.

        19.     The SP Adviser is an investment adviser incorporated in Delaware as a limited

Liability company on May 11, 2017, which served as the investment adviser to each of the SP Funds

and as the managing member of the SP Fund Manager. Like the SP Fund Manager, the SP Adviser's

office was in Manhattan until mid-2021, at which time it moved its office to Jupiter, Florida. The SP

Adviser has never been registered with the Commission as a broker-dealer.

        20.     Castillero, age 44, resides in Palm City, Florida. Castillero is one of the three

founders and beneficial owners of the "StraightPath" suite of entities and funds. From their

inception in 2017 until early February 2019,on paper, Castillero was the majority beneficial owner of

the SP Adviser and the SP Fund Manager. On February 6,2019, Castillero was permanently barred

from associating with any member of the Financial Industry Regulatory Authority("FINRA") for

refusing to appear for on-the-record testimony in December 2018 in connection with a FINRA

investigation into allegations that, among other things, Castillero engaged in unauthorized trading in

a customer's account when he had been working at a broker-dealer. Between 2002 and 2017,

Castillero was a registered broker at four different broker-dealers and held Series 7, 24,63, and 65
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securities licenses. Castillero has been the subject of at least 12 customer complaints from his time

in the securities industry, all of which alleged fraud or unsuitable investment recommendations.

        21.     Martinsen, age 45, resides in Saint James, New York. Another one of the three

founders and beneficial owners of StraightPath, Martinsen became the purported majority owner of

both the SP Fund Manager and the SP Adviser in early February 2019, when Castillero purportedly

transferred his interests in those companies to Martinsen. Martinsen is not currently registered with

the Commission as a broker. From 1996 until April 2020, Martinsen was a registered broker at 13

different broker-dealers and held Series 7,24,63, and 65 securities licenses. Martinsen has been the

subject of at least seven customer complaints from his time in the securities industry, which alleged

various types of fraud or unsuitable investments.

        22.     Lanaia, age 57, resides in Fort Salonga, New York. Lanaia is the third founder and

beneficial owner of the StraightPath entities, although she has persistently described herself as a

mere "consultant." Lanaia has filed two voluntary Chapter 13 bankruptcy petitions; the first was

filed on September 8, 2017, and dismissed on March 26,2018, while the second was filed on May

31,2018, and dismissed on October 3,2019. Lanaia was suspended from association with any

FINRA member between January 16, 2018, and April 16,2018, for failing to properly disclose three

outstanding civil judgments against her totaling more than $286,000 on her Form U4; on October

29,2018, that suspension became a permanent bar. Previously, between 1989 and 2017,Lanaia was

a registered broker at six different broker-dealers and held Series 7, 24, and 63 securities licenses.

Lanaia has been the subject of at least five customer complaints from her time in the securities

industry, which alleged fraud or failure to supervise other brokers.

        23.     Lachow,age 47, resides in Parkland, Florida. From inception until in or around

September 2021,Lachow served as the nominal manager of the SP Fund Manager, and,in that

capacity, signed documents and sent emails at the direction of the three founders. After Castillero
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"resigned" in February 2019,Lachow became the managing member of the SP Adviser and 1

percent owner of both the SP Adviser and the SP Fund Manager. Lachow has not been registered

with the Commission as a broker since 2013. At various points in time between 1997 until 2013,

Lachow was a registered broker with nine different broker-dealers and held Series 7,9,10, 24, 53,

63, and 65 securities licenses.

                                               FACTS


I.      STRAIGHTPATH'S SECURITIES OFFERINGS


        24.     Castillero, Martinsen, and Lanaia are veterans of the securities industry. They met

while working together as licensed brokers at Commission-registered broker-dealers. Martinsen and

Lanaia worked together beginning in 2006, while Castillero overlapped with them at various points

beginning in 2012.

        25.     In May 2017, Castillero, Martinsen, and Lanaia founded StraightPath, with an initial

advance of $21,000 from Lanaia.

        26.     In theory, StraightPath's business model was to acquire Pre-IPO Shares and then sell

to investors an interest in an SP Fund Series that owned those Pre-IPO Shares ("Interests").

        27.     Pre-IPO Shares generally are held by early stage investors and company employees

and their family members and are not widely available to the investing public.

        28.     Pre-IPO Shares are attractive to investors due to the potential for high returns in the

event the company does have an IPO and there is high demand for its shares, allowing the shares to

be sold above their pre-IPO price.

        29.     Together, Castillero, Martinsen, and Lanaia established (a) the SP Adviser, which

would be the investment adviser to the SP Funds,(b) the SP Fund Manager, which would acquire

the Pre-IPO Shares, allocate them by Series, and then sell Series Interests to investors, and (c) over

time, nine SP Funds, each of which was organized as a Delaware series limited liability company.
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       30.      Between November 2017 and February 2022, the SP Fund Manager sold Series

Interests to more than 2,200 investors located in 49 states, Washington, D.C., and Puerto Rico.

        31.     At least 94 of these investors are located in Manhattan and in this District.


        32.     The SP Fund Manager also sold Series Interests to investors located in at least 13

other countries.


       33.      From November 2017 through February 2022, Defendants raised at least $410

million from investors for the SP Funds.


        34.     Prospective investors in each of the SP Funds were provided with similar offering

documents containing substantially similar language—a private placement memorandum ("PPM"),

an operating agreement for the relevant SP Fund contained in the PPM,a subscription agreement, a

purchaser questionnaire, and an additional letter and "pitchbook" that provided more information

about the pre-IPO company in which investors were led to believe they were investing.

        35.     Lanaia drafted the PPMs.


        36.     Lachow is named in each of the PPMs as part of the management of the SP Fund

Manager. The PPMs tout Lachow's background and experience in the securities industry, including

an "active Investment Advisor License (Series 65)," and provide his contact information for

investors who may have questions.

        37.     Beginning with SP Fund 3, the PPMs also listed Martinsen as the "director" of both

the SP Fund Manager and the SP Adviser, and similarly tout his background and experience in the

securities industry.

        38.     None of the PPMs refer to either Castillero or Lanaia at all.

        39.     The PPMs disclosed to investors that the SP Adviser "will be responsible for

investment of the [SP] Fund's assets," which meant that it will "(i) originate, analyze, and

recommend investment opportunities to the [SP] Fund that are consistent with the purpose and
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investment focus of the [SP] Fund,(ii) structure investments,(iii) identify funding sources for

Portfolio Companies,(iv) supervise the preparation and due diligence review of documentation

relating to the acquisition, financing, and disposition ofinvestments,(v) monitor investments, and

(vi) provide such other services related thereto as the [SP Fund] Manager may reasonably request."

       40.      With respect to the SP Fund Manager, as described in each of the PPMs,its primary

duty was to "establish various [Series] for the purpose of making separate and distinct direct, indirect

and secondary venture capital or growth equity investments in various leading seed-stage, early-stage,

developmental-stage and later-stage private companies."

        41.     According to the PPMs,each SP Fund was as a series limited liability company that

was divided into segregated parts (a Series) in which investors could purchase Interests.

        42.     Each Series purportedly held a set number of Pre-IPO Shares, or rights to Pre-IPO

Shares, of a particular pre-IPO company.

        43.     By purchasing Interests in a particular Series, an investor could gain a beneficial

interest in a proportional number of the underlying Pre-IPO Shares held by the Series.

        44.     For example,if a Series owned 100,000 Pre-IPO Shares of a particular pre-IPO

company, an investor who purchased 2 percent of the Series would own an interest in 2,000 Pre-

IPO Shares of that company.

        45.     In practice. Defendants and their sales agents presented these offerings as if they

were selling the Pre-IPO Shares to the investor—that is, they quoted prospective investors a price

per share, the investor specified the number of shares they wished to own,and investors were then

told that their capital contribution reflected a number of shares at that price per share.

        46.     On its website, the Fund Manager pitches its offerings as a way for small investors to

"gain access to pre-IPO investing opportunities at privately held companies and allow smaller

investors to get in on portions of the investment." The website further states that "[t]he pre-IPO


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investment opportunities we offer give you the opportunity to invest in high-growth companies like

Uber and Airbnb before these companies go public." The website then offers to walk potential

investors through "the pre-IPO venture capital opportunities available and how to get pre-IPO

shares."


        47.     Lachow sent hyperlinks to the PPMs,subscription agreements, purchaser

questionnaires, and pre-IPO company-specific documents to potential investors by email. Lachow's

emails also tjqjically included the equivalent price per Pre-IPO Share at which the SP Fund Manager

was offering Interests in a given Series.

        48.     Although Lachow held himself out as the "fund manager," in reality, he was the

"fund manager" in name only. Rather, Martinsen, Castillero, and Lanaia performed the SP Fund

Manager's duties from behind the scenes and directed Lachow to sign documents and send emails to

investors and prospective investors.

        49.     If an investor wanted to invest in a Series, he or she would send back to the SP Fund

Manager a completed subscription agreement, purchaser questionnaire, and their money. Certain

investors also re-invested some or all of the money they made from a prior Series into a new Series.

        50.     Then,if the SP Fund Manager accepted the investor into the Series (and, thus, into

an SP Fund), the SP Fund Manager sent back to the investor a counter-signed signature page from

the subscription agreement along with a "Welcome Letter," which the SP Fund Manager told

investors to retain as "evidence of your admission as a member in [a specific Series]."

        51.     The Welcome Letters stated that the relevant Series had a "beneficial interest" in a


certain number of Pre-IPO Shares, stated the investor's percentage ownership of the Series, and

stated the equivalent number of underlying Pre-IPO Shares (at a specific price) in which the investor

had invested.




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       52.     Using a template, Lanaia prepared the vast majority of the Welcome Letters the SP

Fund Manager sent out When Lanaia emailed the Welcome Letters back to investors, she often did

so using Lachow's email address.

       53.     Lachow himself also prepared Welcome Letters for the SP Fund Manager that were

sent out to SP Fund investors.


       54.     Martinsen, with assistance from Lanaia and Castillero, had primary responsibility for

sourcing and acquiring Pre-IPO Shares on behalf of the SP Fund Manager.

       55.     Martinsen,in consultation with Lanaia and Castillero, would then set the equivalent

price per share at which the corresponding Series Interests would be sold to investors.

       56.     Martinsen signed certain contracts to acquire Pre-IPO Shares on behalf of the SP

Fund Manager, as did Lachow and Lanaia.

       57.     When Lanaia signed these contracts, she signed as Lachow;Lanaia then

corresponded with the third-parties holding the Pre-IPO Shares by email using either Lachow's

email address or another "administrator" email address.


11.    DEFENDANTS MISREPRESENTED THE NUMBER OF PRE-IPO SHARES
       THAT BACKED THE SERIES INTERESTS THEY SOLD


       58.     Defendants overstated the number of Pre-IPO Shares that backed the Series


Interests they sold to investors and in fact sold more Pre-IPO Shares than they obtained.

       59.     But, rather than make good on their promises or return the money. Defendants

misappropriated these funds (in their words,"overselling") and used it to pay themselves.

       60.     Currently, the SP Funds have a collective shortfall ofPre-IPO Shares of at least

$14 million across seven pre-IPO companies:




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 Company                                       Last Price Per Share Paid     Estimated Amount of
                                                                             Deficit
 Automation Anywhere         2,956             S34.00                        $100,504.00
 Eat just                    92,051            $23.30                        $2,144,788.30
 Impossible Foods            39,442            $36.75                        $1^449,493.50
 Kraken                      75,728            $55.00                        $4,165,040.00
 Rubrik                      94,818            $39.60                        $3,754,792.80
                             41,974            $56.00                        $2,350,544.00
                             3,354             $2.65                         $8,888.10
 Totals                                                                      $13,974,050.70



        61.     Castillero, Martinson, and Lanaia frequently discussed by text message the fact that

the SP Fund Manager sold Series Interests in more Pre-IPO Shares than it had purchased.

        62.     In a text message exchange on October 7, 2019, Martinson, Castillero, and Lanaia

discussed what to do with money that investors had sent in related to Series Interests in Pre-IPO

Shares of the company Grab, which the SP Fund Manager had not yet purchased. When Lanaia

noted that "[w]e don't have that much money in we can send
                                                       |   the back," Martinsen responded that

certain investors had already received Welcome Letters "fs]o sending the money back is not an

option."

        63.     In a text message exchange on August 19, 2020, Martinson, Castillero, and Lanaia,

Martinsen noted that the SP Fund Manager was "completely sold out" of Pre-IPO Shares of

Impossible Foods, but then stated "[l]et's build some cash for [I]mpossible [Foodsj first and then I'll



        64.     In a text message exchange on February 2, 2021, Martinsen and one of Martinsen's

contacts who helped him to source Pre-IPO Shares ("Contact A"), Martinsen stated: "This Rubrik

is stressing me out. We r way oversold even on the 2 contracts with u. I need to close the open

contracts and if 1 can get that other 5 mill that would be a life saver.'
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       65.       In a text message exchange on March 14,2021, Martinsen, CastdUero and Lanaia

discussed the fact that the SP Fund Manager had sold more Series Interests in Pre-IPO Shares of the

company Eat Just. Martinsen asked Castillero for a list of the investors who "didn't get... filled,"

noting that one investor "was sent a welcome letter in his investments that came in after we were

sold out."


       66.       In a text message exchange on March 22,2021 Martinsen and Contact A,Martinsen

asked: "R we getting more [eat] just???" The next day, on March 23, 2021, after Contact A told

Martinsen that the share price for Eat Just had increased, Martinsen responded. "Let's get some.

Even if it's a small amount. I oversold." Martinsen then confirmed that he needed "about" $2

million worth of EatJust Pre-IPO Shares.

       67.       In a text message exchange on June 28,2021, Martinsen, Castillero, and Lanaia

discussed the fact that they had sold more Series Interests in Pre-IPO Shares of the company

Kraken than they owned. Martinsen asked "how many shares [of Kraken] did we sell at this point

over what we bought?," after which Castillero and Martinsen agreed that they had oversold by

50,000 shares.

       68.       The SP Fund Manager has operated at a Pre-IPO Share deficit for years.

       69.       For example, between February 2,2021 and March 8,2021, the SP Fund Manager

sold more than $25.5 million in Series Interests related to Pre-IPO Shares of the company UiPath.

       70.       As Martinsen acknowledged routinely in text messages in early 2021, however, the

SP Fund Manager was never on UiPath's capitalization table—the company's records of who owned

its shares—and had never acquired a single UiPath Pre-IPO Share.

       71.       When the SP Fund Manager was finally forced to admit that it could not acquire the

UiPath Pre-IPO Shares it had promised, Martinsen, Castillero, and Lanaia urged their sales agents to

convince these investors to move their investments to other pre-IPO companies. Although some of



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the investors did choose to invest in a different offering, ultimately, the SP Fund Manager had to

refund more than $8 million to these investors.

        72.     On or about February 18, 2022, Defendants agreed,in discussions with the

Commission staff, to stop soliciting new investments in Series Interests.

        73.     The next month,share deficits quickly became apparent.

        74.     Since the end of March 2022, Martinsen has transferred more than $3.3 miUion from

his personal bank accounts into the SP Fund Manager bank account in order to cover the purchase

of two blocks of Pre-IPO Shares of Rubrik.


III.    DEFENDANTS IMPROPERLY COMMINGLED INVESTOR FUNDS AND
        MADE PONZI-LIKE PAYMENTS


        75.     Defendants repeatedly represented to investors that each Series would be

"segregated" and, thus, not commingled with other Series.

        76.     The PPMs for each of the SP Funds stated that "[e]ach Series will remain segregated

from each other Series" and that "[m]embers of a Series shall be entitled to the benefits of that

particular Series only and shall not be entitled to profits, losses, allocations or distributions of any

other Series of which they are not a Member." The PPMs also stated that "[d]istributions are made

by the [SP] Fund on a Series-by-Series basis and not on the Fund's portfolio as a whole. Thus

winners are not netted against losers."

        77.     The Fund Manager's public website reiterates that "[ejach Series will remain

segregated from all other Series" in response to a "Frequentiy Asked Question" about how

investments in the SP Funds are structured.


        78.     But, despite these assurances, the SP Fund Manager did not segregate the SP Fund

Series at all. Although each SP Fund had separate bank accounts,in practice, the SP Fund Manager

did not segregate those accounts by Series. In fact, the SP Fund Manager commingled the assets of

different SP Funds and commingled the assets of the SP Funds with those of the SP Fund Manager.

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       79.     Specifically, the SP Fund Manager commingled funds belonging to different SP

Funds in the SP Fund Manager's bank account. On other occasions, the SP Fund Manager made

transfers directly between the SP Fund bank accounts.

       80.     The SP Fund Manager used these commingled funds to purchase whatever Pre-IPO

Shares it needed across the various SP Funds. For example:

               A.      In early morning hours ofJune 9, 2020, Martinsen asked Castillero via text

message (on a chain that included Lanaia) if there is "anyway [sic] to get more money cleared today"

so that they could "wire what we have" to purchase Pre-IPO Shares of Impossible Foods. Later

that day, Castillero moved a total of $608,000 into SP Fund 7 from a combination of SP Funds 2, 3,

4, 5, and 6, and used those funds (along with the funds already in the account for SP Fund 7) to pay

nearly $1.5 million for Impossible Foods Pre-IPO Shares. Castillero then confirmed to Martinsen

and Lanaia via text message that he had sent these funds as discussed.

               B.      On March 16, 2021,Lanaia transferred $11,550,780 into the SP Fund

Manager bank account from the bank accounts of SP Fund 1, 5,6, 7, and SP Holdings. These

amounts were funded by transfers into these bank accounts from the corresponding brokerage

accounts for these entities. Later that day, Castillero wired $11,550,780 to purchase Pre-IPO Shares

of Scopely from the SP Fund Manager bank account.

       81.     The SP Fund Manager also used commingled funds to make Ponzi-like payments

back to investors. For example:

               A.      After investors in an SP Fund 2 Series filed a fraud lawsuit against the SP

Fund Manager in November 2019, the SP Fund Manager refunded $358,000 to these investors on

January 7 and 29,2020. In order to fund these payments, the SP Fund Manager transferred

$308,000 into its account from SP Fund 6,$40,000 from SP Fund 2(which was funded by new

investors in a different Series) and $10,000 from SP Fund 3.



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               B.       On March 17,2021,the SP Fund Manager transferred $1.5 million and

$300,000 from the bank accounts of SP Fund 2 and SP Fund 4, respectively, to the bank account of

SP Fund 8 in order to help fund a $2 million investor refund of SP Fund 8 Series Interests backed

by the Pre-IPO Shares of UiPath, which the SP Fund Manager had been unable to acquire.

                C.      On July 26,2021, CastiUero transferred $1 million from an entity he

controlled into the bank account of SP Fund 7. SP Fund 7 used these funds to cover a series of

distributions to investors out of the account that same day and the following two days. On July 30,

2021, the SP Fund Manager transferred $1 million from SP Fund 9, first to the SP Fund Manager

and then to Castillero's entity, in order to refund Castillero's $1 million payment.

                D.      On October 1, 2021, the SP Fund Manager made an investor distribution of

$405,682.30 from SP Fund 3. After this distribution, SP Fund 3's bank balance turned negative in

the amount of $383,772.56. On October 4,2021, the SP Fund Manager moved $385,000 from SP

Fund 7 to SP Fund 3 to cover the negative balance.

        82.     Martinsen, Castillero, and Lanaia regularly discussed commingling of investor assets

via text message, and each of them made such transfers over time.

        83.     At times, Castillero asked Martinsen for his online bank login information so that

Castillero could log in and make transfers under Martinsen's login.

        84.     Neither the SP Fund Manager nor Castillero, Martinsen, or Lanaia kept records of

the fees that either the SP Fund Manager or the SP Advisor purported to accrue, collect, or pay out.

        85.     In fact, the general ledgers for both the SP Fund Manager and the SP Funds simply

describe this type ofcommingling activity as "transfers" between accounts or amounts "due to/due

from" these entities; they do not identify these transfers as, for example, accrued fees or other

compensation owed to the SP Fund Manager or SP Adviser.




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       86.     Martinsen, Castillero, and Lanaia sought to identify how much they had to pay for

Pre-IPO Shares and other expenses so that, as Martinsen described in a group text message on

December 8, 2020,"we know what's left over for us to chop up."

       87.     In total. Defendants used these commingled funds to make more than $75 million in

payments to the principals—Martinsen received at least $25.4 miUion, Castillero received at least

$24.4 million, Lanaia received at least $24.3 million, and Lachow received just under $1 million.

       88.     Defendants also used these commingled funds to make nearly $48 million in

payments to unregistered sales agents and more than $5.6 million more in other commission

payments to broker-dealers.

       89.     At times, the SP Fund Manager made these payments to its principals and sales

agents by "sweeping" available funds into the SP Fund Manager's bank account from the other SP

Fund bank accounts.


        90.    For example, between May 18 and 22,2020, the SP Fund Manager transferred to its

own bank account a total of nearly $1.4 million from the bank accounts of SP Fund 1, SP Fund 2,

SP Fund 4, SP Fund 5,SP Fund 6, and SP Fund 7. Between May 20 and May 26, 2020, the SP Fund

Manager used these funds to make payments of$255,000 to the founders ($85,000 each to

Martinsen, Castillero, and Lanaia), $207,000 to sales agents, $355,300 for Pre-IPO Shares, and

$570,000 to pay a refund to an investor in SP Fund 6.

        91.    Similarly, on June 11,2021, the SP Fund Manager "swept" more than $1.6 million

into its bank account from SP Funds 4, 5, 7, and 8. The same day, the SP Fund Manager used those

funds to make three $500,000 payments to Martinsen, Castillero, and Lanaia, as well as $140,000 in

payments to various sales agents.




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IV.    DEFENDANTS CHARGED EXCESSIVE HIDDEN MARKUPS THROUGH
       UNDISCLOSED PRINCIPAL TRANSACTIONS


        92.     According to the PPMs and operating agreements, the SP Fund Manager could

charge investors certain upfront fees—a management fee (of up to 2 percent), an expense fee (of up

to 1 percent), and a due diligence fee (of up to 5 percent).

        93.     The SP Fund Manager's website also references these same three fees in the

response to a "Frequendy Asked Question" that asks "[w]hat are the investment banking fees?"

        94.     The PPMs also state that the SP Fund Manager and/or the SP Adviser could charge

a "marketing or placement fee" of up to 10 percent.

        95.     In practice, however, the SP Fund Manager told investors that it had waived all of

these upfront fees.

        96.     For example, the Welcome Letters for investors that were recruited by many of the

sales agents stated that no management fee, no expense fee, and no due diligence fee were deducted

from an investor's capital contribution to the SP Fund. These Welcome Letters also made no

reference to a marketing or placement fee.

        97.     And,in some cases, the SP Fund Manager went even further, sending side letters to

investors specifically confirming for them that it would not be charging any upfront fees at all.

        98.     Lanaia was typically the person who drafted and sent these upfront fee side letters,

though they were signed by either Lachow or Martinsen.

        99.     In reality, however, the SP Fund Manager charged high upfront fees in the form of

an undisclosed markup—^that is, the difference between the price the SP Fund Manager paid for the

Pre-IPO Shares and the price at which the SP Fund Manager sold corresponding Series Interests to

investors.


        100.    Defendants used this markup to pay upfront fees to their unregistered sales agents,

and Martinsen, Castillero, and Lanaia then pocketed the remainder.


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         101.   In 2021, as the SP Fund Manager faced Pre-IPO Share deficits across multiple Series,

these markups increased as did the payments to the founders.

         102.   Beginning in June 2021, the SP Fund Manager charged markups of 57 percent for

Pre-IPO Shares of Automation Anywhere—that is, it sold Series Interests at a price equivalent to

$41 per share when it had purchased the Pre-IPO Shares at $26.10 per share.

         103.   In November 2021,the SP Fund Manager purchased another block of Automation

Anjnvhere Pre-IPO Shares, this time at $34 per share, to cover a portion of a share deficit where it

had been selling Series Interests at a price that was equivalent to as high as $50 per share (a 47

percent markup).

         104.   Between May 2021 and January 2022, the SP Fund Manager routinely sold Series

Interests in Kraken Pre-IPO Shares at a price equivalent of $90 per share. The SP Fund Manager

bought these shares at prices between $47(a 91 percent markup) and $55 (a 64 percent markup) per

share.


         105.   By at least June 2021 and up through February 2022, the SP Fund Manager sold

Series Interests in Plaid Pre-IPO Shares at a price equivalent of $1,600 per share. The SP Fund

Manager bought these shares at prices between $900 (a 78 percent markup) and $970(a 65 percent

markup) per share.

         106.   And, between July 2021 and February 2022, the SP Fund Manager sold Series

Interests in Triller Pre-IPO Shares at a markup of 100 percent or more.

         107.   Martinsen's recent purchases of Rubrik Pre-IPO Shares to cover parts of the share

deficit were at a price of $39.60 per share. Between October and December 2021, however, the SP

Fund Manager had been charging investors a price equivalent of$65 per share. In essence, the SP

Fund Manager was selling Series Interests in Pre-IPO Shares it did not have at a 64 percent markup.




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        108.    All the while, the three founders continued to line their own pockets. Between

January 2021 and February 2022,they paid themselves a total of over $56 million.

        109.    Though the PPMs stated that "StraightPath Affiliates may,to the extent permissible

by law, receive income from [markups]" that would not be shared with the SP Funds, this statement

was false and misleading because,in reality, the SP Fund Manager's practice was always to charge a

markup on every sale of Series Interests.

        110.    Moreover, these markups were not "permissible by law" because they were principal

transactions that, pursuant to Section 206(3) of the Advisers Act, required notice and written

consent from the affected investors.


        111.    The SP Fund Manager sold the Pre-IPO Shares it acquired to the SP Funds as

principal (i.e., its own account), and the lion's share of these markups flowed through the SP Fund

Manager to its owners, Martinsen, Castillero, and Lanaia, each of whom served as an investment

adviser to the SP Funds through their ownership and/or work for the SP Advisor.

        112.    Defendants never made the required disclosure of these principal transactions or

received the required written consent from the SP Fund investors.

        113.    Neither the Welcome Letters nor any other communications to investors disclosed

these markups or the advisers' role in the transactions.

        114.    Similarly, the Forms D that the SP Funds filed with the Commission also failed to

disclose these hidden fees.


        115.    Even the side letters failed to disclose these fees and the amount of the markup.

        116.    For example, a side letter signed by Lachow dated September 29, 2020, for an

investor in an Impossible Foods Series advised that "[tjhis letter is to certify and confirm that there

are no upfront fees" and that SP Fund 8 will charge the fees listed in the PPM. In reality, the SP




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Fund Manager charged this investor a markup of 46 percent, 18 percent of which it paid to an

unregistered sales agent.

        117.    A side letter signed by Martinsen dated June 18, 2021, for an investor in a Triller

Series advised that the letter "is to certify and confirm that there are no up front [sic] fees" and that

SP Fund 7 will not charge the fees listed in the PPM. In reality, the SP Fund Manager charged this

investor a markup of78 percent, 18 percent of which it paid to an unregistered sales agent.

V.      THE OFFERINGS OF SERIES INTERESTS IN THE SP FUNDS VIOLATED
        THE SECURITIES OFFERING REGISTRATION PROVISIONS

        118.    Securities Act Section 5 [15 U.S.C. § 77e] makes it unlawful for any person, direcdy

or indirectly, to offer or sell securities, unless a registration statement is filed with the Commission

and is in effect as to such offer or sale.


        119.    None of the Series Interests sold by Defendants were sold pursuant to a registration

statement filed with the Commission.


        120.    Defendants purported to offer the Series Interests on the basis of Rule 506(c) of

Regulation D [17 C.F.R. § 230.506(c)], a Commission regulation that provides a safe-harbor

registration exemption under Securities Act Section 4(a)(2) for qualifying private offerings.

        121.    In order to qualify for the Rule 506(c) safe-harbor, all purchasers of the securities

sold must be "accredited investors"—that is, for example,individual investors who had a net worth

(with their spouse) of more than $1 million or annual income exceeding $200,000 or joint income

exceeding $300,000. 17 C.F.R. §§ 230.501(a)(5),(a)(6). In addition, the issuer of the securities must

take reasonable steps to verify that the purchasers of the securities are accredited investors, which

may include reviewing documentation such as tax records and brokerage or bank account

statements. 17 C.F.R. § 230.506(c)(2)(ii).




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        122.    Neither the SP Funds individually, nor the SP Fund Manager or SP Adviser on their

behalf, took such reasonable steps with respect to the overwhelming majority of the Series Interests

they sold to investors.

        123.    The vast majorit)' of the investments in the SP Funds were solicited by unregistered

sales agents.

        124.     For these investors. Defendants did little more than collect signed purchaser

questionnaire—^that is, self-certifications—concerning whether the investor qualified as an

accredited investor.


        125.     Defendants did not verify these claims by collecting any of the types of documents

identified in Rule 506(c)(2)(ii).

        126.     Moreover, Defendants were not entitled to rely on the Rule 506(c) safe-harbor for

the vast majority of their sales of Series Interests because of Castillero and Lanaia's roles in these

securities offerings during periods of time that they were either barred or suspended from

association with any FINRA member. 17 C.F.R. § 230.506(d)(l)(vi).

        127.    Between January 16,2018, and April 15, 2018, during which time Lanaia was

suspended from association with any FINRA member. Defendants sold more than $1.1 million in

Series Interests across the SP Funds.


        128.    Since February 6, 2019, the date Castillero was barred by FINRA,Defendants sold

more than $376 million in Series Interests across the SP Funds, plus an additional $22.8 million in

Series Interests from re-investments of monies earned from prior Series.

VI.     STRAIGHTPATH'S SALES EFFORTS VIOLATED THE BROKER-DEALER
        REGISTRATION PROVISIONS


        129.     Exchange Act Section 15(a)(1) makes it unlawful for any broker or dealer "to effect

any transaction in, or to induce or attempt to induce the purchase or sale of, any security" unless

such broker or dealer is registered with the Commission. 15 U.S.C. § 78o(a)(l).


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        130.    Defendants violated these provisions by hiring, training, and running a vast sales

network to sell the Series Interests, to which it paid commissions typically generated by the

undisclosed markups they charged the SP Funds for Pre-IPO Shares. Martinsen, Castillero, and

Lanaia then kept the remaining pieces of these markups for themselves.

        131.    Defendants sold Series Interests through a vast network of sales people, which

included more than 100 sales agents and at least three Commission-registered brokerage firms.

        132.    Castillero and Lachow recruited the agents in part over Craigslist. In one case,

Lachow responded to a post entitled "***PHONE SALES***NO EXPERIENCE NEEDED***"

with an invitation to discuss a sales agent position with the SP Fund Manager. Lachow stated that

the position would involve selling "stock in late stage multi-billion companies." Lachow added,"We

will provide your office with all of the support and training that you need to position you for

continuous success."


        133.    Castillero had primary responsibility for managing these sales agents.

        134.    Many of these sales agents made cold calls to potential investors using lead lists and

sales scripts provided by Castillero.

        135.    Over time, the SP Fund Manager ran "boiler rooms," or makeshift offices used to

solicit investors, located in this District, elsewhere in New York, New Jersey, and Florida.

        136.    Castillero provided many of these sales agents with email addresses and business

cards that identified them as employees of the SP Fund Manager. In reality, these sales agents were

not employees of the Fund Manager at aU.

        137.    The sales agents Defendants used were not licensed or associated with registered

brokerage firms. In fact, some of these sales agents previously had been barred from working as

securities brokers by FINRA or the Commission, or had otherwise been disciplined by other federal

or state agencies.



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        138.    Martinsen, Castillero, and Lanaia knew, or were reckless in not knowing, that the

sales agents they recruited to sell securities for the SP Fund Manager were not associated with a

registered broker at the time of those sales.

        139.    Nevertheless, the SP Fund Manager paid these unregistered sales agents

commissions—that is, a percentage of the amounts of money they raised for the SP Funds.

        140.    Generally, the SP Fund Manager paid these sales agents an upfront commission of

lOpercent of the fund invested by the investor that the sales agent either solicited or referred,

though this upfront commission was,in some cases, as high as 18 percent.

        141.    The SP Fund Manager also typically agreed to pay these sales agents 10 percent of

the investor's "back-end carried interest"—that is, the profit on the Pre-IPO Shares after an IPO.

        142.    The SP Fund Manager documented these commission agreements with is

unregistered sales agent using standardized agreements called "Referral Agent Agreements."

        143.    Castillero and Lanaia typically drafted the Referral Agent Agreements.

        144.    At various times,either Lachow, Martinsen, Castillero, and Lanaia (on Lachow's

behalf) signed the Referral Agent Agreements on behalf of the SP Fund Manager.

        145.    Castillero, with assistance from Martinsen, Lanaia, and Lachow,recruited the

network of unregistered sales agents who worked for the SP Fund Manager.

        146.    Though Lachow held himself out as an executive at the SP Fund Manager and/or

the SP Adviser, he was also an unregistered sales agent himself.

        147.    Lachow had a Referral Agent Agreement that provided for the payment of an

upfront cash commission of 15 percent along with 10 percent of the back-end carried interest.

        148.    Between September 2020 and December 2021,Lachow solicited investments in

Series Interests from at least 29 investors, which totaled at least $3.7 million.

        149.    The SP Fund Manager paid Lachow commissions on the investments he solicited.


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        150.    Overall, between December 2017 and April 2022, the Fund Manager paid a total of

nearly $48 million in commissions to these unregistered sales agents.

        151.    Although Lanaia and Castillero were barred by FINRA in 2018 and 2019,

respectively, after they were barred, they both continued to participate in the offerings of Series

Interests and their duties remained largely unchanged.

        152.    After being barred, Castillero continued to manage the SP Fund Manager's sales

force, which solicited investments in the Interests, after he was barred in February 2019 through at

least February 2022.

VII.    CASTILLERO AND MARTINSEN DELETED SUBPOENAED EMAILS


        153.    On November 12,2020, the Commission staff issued an investigative subpoena to

SP Holdings and its affiliates, including SP Fund Manager and the SP Adviser (the "Subpoena").

        154.    Among other things, the Subpoena sought production of documents and

communications concerning "all finders, marketers, consultants, or other third parties utilized by [SP

Holdings, as defined in the subpoena] to identify investors." The Subpoena also sought email

communications concerning "investors in investment vehicles with holdings of securities of Palantir

and Lyft."

        155.    The subpoena directed the recipients to respond by no later than November 27,

2020.


        156.    The Commission staff served the subpoena by email, sending it to Martinsen's email

address at the SP Fund Manager.

        157.    As of April 14, 2021,SP Fund Manager and SP Adviser still had not fully responded

to the Subpoena.




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        158.    That day, the Commission staff wrote Martinsen an email identifying deficiencies in

the production and requesting that the documents be produced by a particular date ("April 14th

Email").

        159.    Among other things, Commission staff specifically requested the production of

certain email communications responsive to the Subpoena: "By May 5, please produce all

communications (including emails and text messages) with the below individuals and/or entities

during the Relevant Period (defined in the subpoena as January 1,2018 to the present). If the

individuals and/or entity was provided a StraightPath email address, please also produce their

emails." The list contained the names of ten sales agents the Commission staff understood had

been issued StraightPathVP.com email addresses ("Request #1"). An additional nearly identical

request was made for an additional 37 sales agents with a due date of May 19 ("Request #2").

        160.    By May 1, 2021, Castillero had begun to contact sales agents who had been using

StraightPathVP.com email addresses and informed them that they would no longer have access to

these email addresses.


        161.    That same day, Castillero discussed the sales agent emails with Martinsen by text

message. Martinsen privately admitted in this discussion that certain sale agent emails "put[ ]us at

risk." Castillero agreed, writing "[a]n asshole regulator would have a field day" with these emails.

        162.    On May 5,2021, the date Commission staff told Martinsen that communications

(including email) with the first ten sales agents were due, Martinsen confided in Castillero by text

message: "We r going to claim they they [sic] don't have emails and we don't. Have archives ...

"Just delete there [sic] emails. Fuck it."

        163.    That same day, Castillero deleted email accounts belonging to eight different sales

agents,including Sales Agents A,B, C, and D.




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        164.   Also that same day, Martinsen, on behalf of SP Fund Manager, wrote Commission

staff a letter stating: "Please be advised that those listed [including Sales Agents A,B,C,and D]do

not have SPVP Email addresses. Be further advised that StraightPath Venture Partners does not

keep archived emails."

        165.   On May 21, 2021, Martinsen submitted a letter to Commission staff responding in

detail to the April 14th Email writing in response to Request #1,"As previously stated, these emails

do not currently exist and our service provider ... does not archive the emails." In response to

Request #2 in the April 14th Email, Martinsen wrote,"[PJlease be advised that we have previously

indicated those individuals or entities we have not had an email address and I will indicate below


those who have had an email in the past. Again, we do not archive emails and our service provider.

.. does not archive the emails."


        166.   After Martinsen's email on May 21, 2021, Castillero continued to delete additional

email accounts,including sales agent email accounts,in at least June, August,September, October,

and November 2021.


VIII. THE SP ADVISER MADE MISREPRESENTATIONS IN ITS FORMS ADV


        167.   A Form ADV is a uniform form used by investment advisers to register with the

SEC and state securities authorities. Completed Forms ADV are available to the public.

        168.   The SP Adviser made misrepresentations in its Forms ADV about the SP Funds'

fund administrator and auditor.


        169.   For example, the SP Adviser's Forms ADV listed Administrator A as its outside

administrator beginning in August 2018.

        170.   Administrator A, however,resigned from its role as fund administrator by at least

May 2019.




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        171.    Nonetheless, the SP Adviser continued to list Administrator A on the SP Adviser's

Forms ADV until September 2021.

        172.    Additionally, the SP Adviser listed Auditor A as its auditor in its Forms ADV

beginning in January 2019.

        173.    Auditor A was never engaged, however, and the SP Adviser never retained a

different auditor.


        174.    The SP Adviser's Forms ADV continue to list Auditor A as its auditor.


        175.    Defendants provided these Forms ADV to registered broker-dealers that solicited

investors in the SP Funds and certain prospective investors.

                                   FIRST CLAIM FOR REUEF
                             Violations of Securities Act Section 17(a)
                                         (All Defendants)

        176.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        177.    Defendants, directly or indirectly, singly or in concert, in the offer or sale of

securities and by the use of the means or instruments of transportation or communication in

interstate commerce or the mails,(i) knowingly or recklessly have employed one or more devices,

schemes or artifices to defraud,(ii) knowingly, recklessly, or negligently have obtained money or

property by means of one or more untrue statements of a material fact or omissions of a material

fact necessary in order to make the statements made,in light of the circumstances under which they

were made, not misleading, and/or (iii) knowingly, recklessly, or negligently have engaged in one or

more transactions, practices, or courses of business which operated or would operate as a fraud or

deceit upon the purchaser.

        178.    By reason of the foregoing. Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Securities Act Section 17(a)[15 U.S.C. § 77q(a)].



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                                  SECOND CLAIM FOR RELIEF
                  Aiding and Abetting Violations of Securities Act Section 17(a)
                          (Martinsen, Castillero, Lanaia,and Lachow)

        179.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        180.     The SP Fund Manager and the SP Adviser violated Securities Act Section 17(a) in

the offer or sale of the Series Interests.


        181.     Specifically, SP Fund Manager and the SP Adviser, directly or indirectly, singly or in

concert, in the offer or sale of securities and by the use of the means or instruments of

transportation or communication in interstate commerce or the mails,(i) knowingly or recklessly

have employed one or more devices, schemes or artifices to defraud,(ii) knowingly, recklessly, or

negligently have obtained money or property by means of one or more untrue statements of a

material fact or omissions of a material fact necessary in order to make the statements made,in light

of the circumstances under which they were made, not misleading, and/or (iii) knowingly, recklessly,

or negligently have engaged in one or more transactions, practices, or courses of business which

operated or would operate as a fraud or deceit upon the purchaser.

        182.     Martinsen, Castillero, Lanaia, and Lachow knowingly or recklessly provided

substantial assistance to the SP Fund Manager's and the SP Adviser's violations.

        183.     By reason of the foregoing, Martinsen, Castillero, Lanaia, and Lachow are liable for

aiding and abetting the SP Fund Manager's and the SP Adviser's violations of Securities Act 17(a).

                                   THIRD CLAIM FOR RELIEF
               Violations of Exchange Act Section 10(b) and Rule lOb-5 Thereunder
                                        (All Defendants)

        184.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.




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        185.    Defendants, directly or indirectly, singly or in concert, in connection with the

purchase or sale of securities and by the use of means or instrumentalities ofinterstate commerce,or

the mails, or the facilities of a national securities exchange, knowingly or recklessly have (i) employed

one or more devices, schemes, or artifices to defraud,(ii) made one or more untrue statements of a

material fact or omitted to state one or more material facts necessary in order to make the

statements made,in light of the circumstances under which they were made, not misleading, and/or

(iii) engaged in one or more acts, practices, or courses of business which operated or would operate

as a fraud or deceit upon other persons.

        186.    By reason of the foregoing. Defendants directiy or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Exchange Act Section 10(b)[15 U.S.C. § 78j(b)]

and Rule lOb-5 thereunder [17 C.F.R. § 240.10b-5].

                                 FOURTH CLAIM FOR RELIEF
 Aiding and Abetting Violadons ofExchange Act Section 10(b) and Rule lOb-5 Thereunder
                           (Martinsen, Castillero, Lanaia, and Lachow)

        187.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        188.    The SP Fund Manager and the SP Adviser violated Exchange Act Section 10(b) and

Rule lOb-5 thereunder in connection with the sale of the Series Interests.


        189.    Specifically, the SP Fund Manager and the SP Adviser, directly or indirectly, singly or

in concert,in connection with the purchase or sale of securities and by the use of means or

instrumentalities of interstate commerce, or the mails, or the facilities of a national securities

exchange, knowingly or recklessly have (i) employed one or more devices, schemes, or artifices to

defraud,(ii) made one or more untrue statements of a material fact or omitted to state one or more

material facts necessary in order to make the statements made,in light of the circumstances under




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which they were made, not misleading, and/or (iii) engaged in one or more acts, practices, or

courses of business which operated or would operate as a fraud or deceit upon other persons.

        190.    Martinsen, Castillero, Lanaia, and Lachow knowingly or recklessly provided

substantial assistance to the SP Fund Manager's and the SP Adviser's violations.

        191.    By reason of the foregoing, Martinsen, Castillero, Lanaia, and Lachow are liable for

aiding and abetting the SP Fund Manager's and the SP Adviser's violations of Exchange Act 10(b)

and Rule lOb-5 thereunder.


                                   FIFTH CLAIM FOR RELIEF
                     Advisers Act Section 206 and Rule 206(4)-8 Thereunder
                    (SP Adviser, Martinsen, Castillero, Lanaia, and Lachow)

        192.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        193.    The SP Adviser, Martinsen, Castillero, Lanaia, and Lachow had an adviser-client

relationship with and therefore owed a fiduciary duty to the SP Funds.

        194.    From at least 2017 to the present, while acting as an investment adviser, the SP

Adviser, Martinsen, Castillero, Lanaia, and Lachow, by use of the mails or any means or

instrumentality of interstate commerce, directly or indirectly, (i) employed a device, scheme, or

artifice to defraud a client or prospective client; (ii) engaged in transactions, practices, or courses of

business that operated as a fraud or deceit upon a client or prospective client; (iii) acting as principal

for their own account, knowingly sold securities to a client, without disclosing to such client in

writing before the completion of such transaction the capacity in which they were acting and

obtaining the consent of the client to such transaction; and/or (iv) engaged in any act, practice, or

course of business which is fraudulent, deceptive, or manipulative.




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        195.    By reason of the foregoing, the SP Adviser, Martinsen, Catillero, Lanaia, and Lachow

directly or indirectly, singly or in concert, have violated and, unless enjoined, will again violate

Advisers Act Section 206(1), 206(2), 206(3), and 206(4) and Rule 206(4)-8 thereunder.

                                   SIXTH CLAIM FOR RELIEF
         Aiding and Abetting Advisers Act Section 206 and Rule 206(4)-8 Thereunder
              (SP Fund Manager, Martinsen, Castillero, Lanaia, and Lachow)

        196.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        197.    The SP Adviser violated Sections 206(1), 206(2), 206(3), and 206(4) of the Advisers

Act and Rule 206(4)-8 thereunder in connection with the sale of the Series Interests.

        198.    Specifically, while acting as an investment adviser, the SP Adviser, by use of the mails

or any means or instrumentality ofinterstate commerce, directly or indirecdy,(i) employed a device,

scheme, or artifice to defraud a client or prospective client; (ii) engaged in transactions, practices, or

courses of business that operated as a fraud or deceit upon a client or prospective client; (iii) acting

as principal for their own account, knowingly sold securities to a client, without disclosing to such

client in writing before the completion of such transaction the capacity in which they were acting

and obtaining the consent of the client to such transaction; and/or (iv) engaged in any act, practice,

or course of business which is fraudulent, deceptive, or manipulative.

        199.    The SP Fund Manager, Martinsen, Castillero, and Lanaia knowingly or recklessly

provided substantial assistance to the SP Adviser's violation.

        200.    As a result of the forgoing, the SP Fund Manager, Martinsen, Castillero, and Lanaia

are liable for aiding and abetting the SP Adviser's violations of Advisers Act Section 206 and Rule

206(4)-8 thereunder.




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                                 SEVENTH CLAIM FOR RELIEF
                                       Advisers Act Section 207
                    (SP Adviser, Martinsen, Castillero, Lanaia, and Lachow)

        201.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        202.    The SP Adviser, Martinsen, Castillero, Lanaia, and Lachow, while acting as an

investment advisers, by use of the mails or any means or instrumentality of interstate commerce,

direcdy or indirectly, willfully made untrue statements material fact in a registration application or

report filed with the Commission under section 80b—3 or 80b-4 of this tide, or willfully to omitted

to state in any such application or report any material fact which is required to be stated therein.

        203.    By reason of the foregoing, the SP Adviser, Martinsen, Catillero, Lanaia, and Lachow

directly or indirectly, singly or in concert, have violated and, unless enjoined, will again violate

Advisers Act Section 207.


                                  EIGHTH CLAIM FOR RELIEF
                                       Advisers Act Section 207
                (SP Fund Manager, Martinsen, CastUlero,Lanaia, and Lachow)

        204.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        205.    The SP Adviser violated Advisers Act Section 207.


        206.    Specifically, the SP Adviser, while acting as an investment advisers, by use of the

mails or any means or instrumentality of interstate commerce, directly or indirectly, willfully made

untrue statements material fact in a registration application or report filed with the Commission

under section 80b—3 or 80b—4 of this title, or willfully to omitted to state in any such application or

report any material fact which is required to be stated therein.

        207.    The SP Fund Manager, Matinsen, Castillero, and Lachow knowingly or recklessly

substantially assisted the SP Adviser's violation.



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        208.     By reason of the foregoing, the SP Fund Manager, Martinsen, Castillero, Lanaia are

liable for aiding and abetting violate the SP Adviser's violations of Advisers Act Section 207.

                                  NINTH CLAIM FOR RELIEF
                         Violations of Securities Act Sections 5(a) and (c)
                                         (All Defendants)

        1.       The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        2.       From 2017 until the present. Defendants, directly or indirectly, and notwithstanding

the fact that there was no applicable exemption:(a) made use of the means or instruments of

transportation or communication in interstate commerce or of the mails to sell, through the use or

medium of a prospectus or otherwise, securities as to which no registration statement was in effect;

(b) for the purpose of delivery after sale, carried or caused to be carried through the mails or in

interstate commerce,by means or instruments of transportation, securities as to which no

registration statement was in effect; and/or (c) made use of means or instruments of transportation

or communication in interstate commerce or of the mails to offer to sell, through the use or medium

of a prospectus or otherwise, securities as to which no registration statement had been filed.

        3.       By reason of the foregoing. Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Securities Act Sections 5(a) and (c).

                                  TENTH CLAIM FOR RELIEF
               Aiding and Abetting Violations of Securities Act Sections 5(a) and (c)
                          (Martinsen, Castillero, Lanaia, and Lachow)

        4.       The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        5.       The SP Adviser and SP Fund Manager violated Securities Act Sections 5(a) and (c).

        6.       Specifically, from 2017 until the present, the SP Adviser and SP Fund Manager,

directly or indirectly, and notwithstanding the fact that there was no applicable exemption:(a) made



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use of the means or instruments of transportation or communication in interstate commerce or of

the mails to sell, through the use or medium of a prospectus or otherwise, securities as to which no

registration statement was in effect;(b) for the purpose of delivery after sale, carried or caused to be

carried through the mails or in interstate commerce, by means or instruments of transportation,

securities as to which no registration statement was in effect; and/or (c) made use of means or

instruments of transportation or communication in interstate commerce or of the mails to offer to

sell, through the use or medium of a prospectus or otherwise, securities as to which no registration

statement had been filed.


        7.      Martinsen, Castillero, Lanaia, and Lachow knowingly or recklessly provided

substantial assistance to the SP Adviser and the SP Fund Manager in the forgoing conduct.

        8.      By reason of the foregoing, Martinsen, Castillero, Lanaia, and Lachow are liable for

aiding and abetting the SP Adviser and the SP Fund Manager's violations of Securities Act Sections

5(a) and (c).

                               ELEVENTH CLAIM FOR RELIEF
                            Violations ofExchange Act Sections 15(a)
                                        (All Defendants)

        9.      The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        10.     Defendants, while not registered with the Commission as a broker or dealer or

associated with a registered broker or dealer, made use of the mails or other means or

instrumentality ofinterstate commerce to effect transactions in, or to induce or attempt to induce

the purchase or sale of, securities other than exempted securities or commercial paper, bankers'

acceptances, or commercial bills.

        11.     By reason of the foregoing. Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Exchange Act Section 15(a)(1).



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                               TWELFTH CLAIM FOR RELIEF
              Aiding and Abetting Violations of Sections 15(a) of the Exchange Act
                               (Martinsen, Castillero, and Lanaia)

       12.      The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 175.

        13.     Lachow violated Exchange Act Section 15(a)(1).

        14.     Specifically, Lachow, while not registered with the Commission as a broker or dealer

or associated with a registered broker or dealer, made use of the mails or other means or

instrumentality of interstate commerce to effect transactions in, or to induce or attempt to induce

the purchase or sale of, securities other than exempted securities or commercial paper, bankers'

acceptances, or commercial bills.

        15.     Martinsen, Castillero, and Lanaia knowingly and recklessly provided substantial

assistance to Lachow's violations.


        16.     By reason of the foregoing, Martinsen, Castillero, and Lanaia are liable for aiding and

abetting the SP Fund Manager and Lachow's violations of Exchange Act Section 15(a)(1).


                                      PRAYER FOR RELIEF


        WHEREFORE,the Commission respectfully requests that the Court enter:

                                                   I.


        An Order temporarily and preliminarily, and a Final Judgment permanently, restraining and

enjoining Defendants, their agents, servants, employees, and attorneys and all persons in active

concert or participation with any of them from violating, directly or indirectly. Securities Act

Sections 5(a), 5(c), and 17(a)[15 U.S.C. §§ 77e(a), 77e(c), and 77q(a)], Exchange Act Sections 10(b)

and 15(a)[15 U.S.C.§§ 78j(b) and 78o(a)] and Rule lOb-5 thereunder [17 C.F.R. § 240.10b-5]; and

Advisers Act Sections 206(1), 206(2), 206(3), 206(4), and 207 [15 U.S.C. §§ 80b-6(l),(2),(3), and (4),

80b-7] and Rule 206(4)-8 thereunder [17 C.F.R. § 275.206(4)-8].;


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                                                  II.


        An Order temporarily and preliminarily, through a Final Judgment, freezing the assets of the

SP Fund Manager, the SP Adviser, Martinsen, Castdllero, and Lanaia;

                                                  III.


        An Order temporarily and preliminarily, through a Final Judgment, appointing a receiver

over the SP Funds, the SP Fund Manager, the SP Adviser, and the personal assets of Martinsen,

Castillero, and Lanaia;

                                                  IV.


        An Order temporarily and preliminarily, through a Final Judgment, enjoining the fUing of

any bankruptcy, foreclosure, receivership, or other actions against the SP Funds, the SP Fund

Manager, and the SP Adviser;

                                                   V.


        An Order requiring the SP Fund Manager, the SP Adviser, Martinsen, Castillero, and Lanaia

to submit a verified accounting of their assets and the use of all investor funds raised by the SP Fund

Manager, the SP Adviser, and the SP Funds;

                                                  VI.


        An Order temporarily and preliminarily, through the Court's decision on the Commission's

application for a preliminary injunction, permitting expedited discovery;

                                                  VII.


        An Order temporarily, and preliminarily, through a Final Judgment, enjoining Defendants

and any person or entity acting at their direction or on their behalf, from destroying, altering,

concealing, or otherwise interfering with the access of the Commission or the receiver to relevant

documents, books and records;

                                                 VIII.




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       A Final Judgment ordering Defendants to disgorge the ill-gotten gains they received as a

result of the violations alleged here and to pay prejudgment interest thereon pursuant to Exchange

Act Sections 21(d)(5) and 21(d)(7)[15 U.S.C §§ 78u(d)(5), and 78u(d)(7)];

                                                IX.


       A Final Judgment ordering Defendants to pay civil money penalties pursuant to Securities

Act Section 20(d)[15 U.S.C.§ 77t(d)], Exchange Act Section 21(d)(3)[15 U.S.C. § 78u(d)(3)], and

Advisers Act Section 209(e)[15 U.S.C. § 80b-9(e)]; and

                                                X.


       A Final Judgment granting any other and further relief this Court may deem just and proper.


Dated: May 13, 2022
       New York, New York

                                      /s/ Lara S. Mehraban
                                      LARA S. MEHRABAN
                                      ACTING REGIONAL DIRECTOR
                                      Sheldon L. Pollock
                                      Steven G. Rawlings
                                      Lee A. Greenwood
                                      Philip A. Fortino
                                      Megan R. Genet
                                      Attorneys for Plaintiff
                                      SECURITIES AND EXCHANGE COMMISSION
                                      New York Regional Office
                                      100 Pearl Street, Suite 20-100
                                      New York, New York 10004
                                      212-336-1060(Greenwood)
                                      GreenwoodL@sec.gov




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                   JUN - 1 2022
                                                                                                   nl
SECURITIES AND EXCHANGE COMMISSION,
                                                                           JUDGE KAPLAN'S CHAMBERS
                                Plaintiff,                     Z


                    -against-                                      DOCUMENT
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STRAIGHTPATH VENTURE PARTNERS LLC,
etal,y                                                             DOC#:
                                                                   DATE FILED:       ^/f^
                                Defendants.




                   [rnoroflBD] consent order appointing receiver

        "WHEREAlS this matter has come before this Court upon tlie emergency motion of Plaintiff

Securities and Exchange Commission ("Plaintiff' or the "Commission")to appoint a receiver in the

above-captioned action to protect investors in SP Ventures Fund LLC,SP Ventures Fund 2 LLC,

SP Ventures Fund 3 LLC,SP Ventures Fund 4 LLC,SP Ventures Fund 5 LLC,SP Ventures Fund 6

LLC,SP Ventures Fund 7 LLC,SP Ventures Fund 8 LLC,and SP Ventures Fund LLC 9

(collectively, the "SP Funds"), which are managed by Defendant StraightPath Venture Partners IXC

(the "SP Fund Manager") and which are advised by Defendant StraightPath Management LLC(the

"SP Adviser")(together,SP Funds,the SP Fund Manager,and the SP Adviser are the "Receivership

Entities");

        WHEREAS following the Court's entry of the Order to Show Cause,Temporary

Restraining Order, and Order Freezing Assets and Granting Other Relief(Dkt. No. 16),Defendants

filed a memorandum oflaw in opposition to tlie Commission's motion;

        WHEREAS the parties have consulted in good faith regarding their disputes concerning

what Court-ordered measiues would be appropriate to protect investors pending the outcome of

this litigation;
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        WHEREAS to resolve these disputes and die issues raised by the Commission's motion, the

parties have agreed, based on their discussions and correspondence, to the following terms

concerning the appointment of a receiver without any waiver of die Defendants'rights to contest all

claims, allegations, and causes of action asserted against them in this action, and without any waiver

of the Individual Defendants'(as defined below) rights to later seek to modify, vacate, or terminate

the receiver's appoinmient or to challenge the appropriateness of any actions by the receiver;

        WHEREAS the Court finds that, based on die record of the proceedings, and for good

cause shown,it accepts the parties'Proposed Consent Order Appointing Receiver for the

appointment of a receiver for the purpose of marshaling and preserving the assets of the

Receivership Entities and the Escrow Funds (as defined in the Stipulated and Consent Order

Imposing Preliminary Injunction and Other Relief(the "PI Order"))(together, the "Receivership

Assets"), as well as any assets of the Receivership Entities that are (a) held in constructive trust for

the Receivership Entities as determined by the Court;(b) were fraudulendy transferred out of

Receivership Entities as determined by the Court; and/or (c) may otherwise be includable as assets

specifically covered by this Order (collectively, the "Recoverable Assets");

        WHEREAS this Court has subject matter jurisdiction over this action, personal jurisdiction

over the Receivership Entities and Defendants Brian K. Martinsen ("Martinsen"), Michael A.

Castillero ("Castillero"), Francine A. Lanaia ("Lanaia"), and Eric D.Lachow ('Xachow")(together,

Martinsen, Castillero, Lanaia, and Lachow are tlie "Individual Defendants"), and venue properly lies

in this District.


ACCORDINGLY,IT IS HEREBY ORDERED THAT:

                        I.      Marshalling of Receivership Assets

        This Court hereby takes exclusive jurisdiction and possession ofthe assets, of whatever land
and wherever situated, of the Receivership Entities.
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        The Receivership Assets include, without limitation, the financial and transfer agent accounts

listed on Exhibit A. The Receivership Assets and/or Recoverable Assets also include shares of,

rights to shares of, and/or forward contracts concerning the shares of private companies that have

the potential for sale or public offering ("Pre-IPO Shares"),including, without limitation, Pre-IPO

Shares of the companies listed on Exhibit B.

        Accordingly, all persons and entities widi direct or indirect control over any Receivership

Assets and/or Recoverable Assets other than the Receiver, are hereby restrained and enjoined from

directly or indirectly transferring, setting off, receiving, changing, selling, pledging, assigning,

liquidating or otherwise disposing of or withdrawing such assets. This judicial possession and

restraint shall include, but not be limited to. Receivership Assets and/or Recoverable Assets that are

on deposit with financial institutions such as banks, brokerage firms, and mutual funds. This judicial

possession and restraint shall also include, but not be limited to, all assets, deposits,interests and

holdings that are direcdy or indirecdy managed by the SP Fund Manager or die SP Adviser.

                        II.      Appointment of the Receiver

        Until further Order of this Court,                                      j   is hereby appointed

to serve widiout bond as receiver (the "Receiver") for the estate of die Receiversliip Entities

(collectively, the "Receivership Estate").

                        III.     Plan Regarding Shortfalls in Pre-IPO Shares

        In the event that the Receiver determines that there is cause to believe that any of the

Receivership Entities does not have enough Pre-IPO Shares to cover aU. outstanding investments,

any of Martinsen, Castillero, or Lanaia (together, the 'TSIamed Individuals") may make a proposal to

the Receiver, with notice to the Commission, to use the Escrow Funds to purchase enough Pre-IPO

Shares to cover any such shortfall(s). Any such notice shall include the proposed number of Pre-
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IPO Shares to be purchased, price per share, seller of the shares, and anticipated timing of closing

on the share purchase.

                         IV.    General Powers and Duties of the Receiver


        The Receiver shall have all powers,authorities,rights and privileges heretofore possessed by

the officers, directors, managers and general and limited partners of the Receivership Entities under

applicable state and federal law, by the governing charters, by-laws, articles and/or agreements in

addition to all powers and authority ofa receiver at equity, and all powers conferred upon a receiver

by the provisions of28 U.S.C. §§ 754,959 and 1692,and Fed. R. Civ. P.66,except to the extent

noted otherwise below and except that the Receiver shall seek leave of Court prior to initiating any

affirmative litigation against any of the Individual Defendants or their personal assets,including to

bring any affirmative litigation against the personal assets of the Named Individuals (^Individual

Assets").' The trustees, directors, officers, managers,employees,investment advisors, accoimtants,

attorneys and other agents of the Receivership Entities including, but not limited to, the Named

Individuals, are hereby dismissed and the powers of any general partners, directors and/or managers

are hereby suspended. Such persons and entities shall have no authority with respect to the

Receivership Entities* operations or assets, except to the extent as may hereafter be expressly

granted by the Receiver or the Court. The Receiver shall assume and control the operation of the

Receivership Entities and shall pursue and preserve all of their claims.

        No person holding or claiming any position of any sort with any of tlie Receivership Entides

shall possess any autliority to act by or on behalf of any of the Receivership Entities.

        Subject to the specific provisions in Sections V through XVI, below, the Receiver shall have

the following general powers and duties:



'       The Individual Assets of the Named Individuals include, witliout limitation, the accounts
and other property listed on Exhibit C.
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A.   To use reasonable efforts to determine the nature,location, and value of aU
     Receivership Assets, Recoverable Assets, and property interests of the Receivership
     Entities,including, but not limited to, monies,funds, securities, credits, effects,
     goods, chattels, lands, premises,leases, claims, rights, economic interests, and other
     assets, together with aU rents, profits, ^vidends,interest or other income attributable
     thereto, of whatever kind, which the Receivership Entities own,possess, have a
     beneficial interest in, or control directly or indirectly (collectively,"Receivership
     Propeily");

B.   To take custody,control, and possession of all Receivership Property, and records
     relevant thereto,from the Receivership Entities and the Individual Defendants;

C.   To sue for and collect, recover, receive, and take into possession from third parties
     all Receivership Property and records relevant thereto;
D.   To manage,control, operate, and maintain the Receiversliip Estate and hold in the
     Receiver's possession, custody and control all Receivership Property, pending further
      Order of this Court;

E.   To use Receivership Property for the benefit of the Receivership Estate, making
     payments and disbursements and incurring expenses as may be necessary or
     advisable in the ordinary course of business in discharging the Receiver's duties as
      Receiver;

F.   To take any action which, prior to the entry of tliis Order, could have been taken by
      the officers, directors, members, managers,trustees, and agents of the Receivership
      Entities;

G.   To engage and employ persons in the Receiver's discretion to assist the Receiver in
     carrying out the Receiver's duties and responsibilities hereunder,including, but not
     limited to, accountants, attorneys, experts, and others that the Receiver deems
     necessary to assist in carrying out the Receiver's duties and responsibilities
     hereunder, subject to prior order of the Court and in accordance with the ''Billing
     Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and
     Exchange Commission"(the "Billing Instructions");

H.   To take such action as necessary and appropriate for the preservation of
     Receivership Property or to prevent the dissipation or concealment of Receivership
     Property;

L    The Receiver is authorized, without further Order of the Court,to issue subpoenas
     for documents and testimony consistent with the Federal Rules of Civil Procedure;
J.   To bring such legal actions based on law or equity in any state, federal, or foreign
      court as the Receiver deems necessary or appropriate in discharging the Receiver's
      duties as Receiver;

K.    To pursue, resist and defend all suits, actions, claims and demands which may now
      be pending or which may be brought by or asserted against the Receivership Estate;
L.    To make necessary or required filings in the counties, states, and/or jurisdictions in
      which the Receivership Property is located in order to secure these assets;
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        M.     To ptopose a liquidation pkn for the Receivership Property to the Court upon
                motion;

        N.     To propose a distribution plan for the Receivership Property to investors to the
                Court upon motion; and

        O.     To take such other action as may be approved by this Court.


        With respect to any documents or communications containing information that would be

protected by the attorney-client privilege or any other privilege held by any of the Receivership

Entities, the Receiver shall not have the power or authority to waive any such privilege as to

documents or communications that existed before the Receiver's appointment absent leave of the

Court("Pre-Appointment Privileged Materials"). To waive any privilege over such Pre-

Appointment Privileged Materials, the Receiver must obtain the Court's authorization to do so upon

a motion by the Receiver. Defendants shall have the right to file a response in opposition to any

such motion.


                        V.      Access to Information


        The past and/or present officers, directors, agents, managers, members, trustees, attorneys,

accountants, and employees of the Receivership Entities, as well as those acting in tlieir place, are

hereby ordered and directed to preserve and turn over to the Receiver forthwith all paper and

electronic information of, and/or relating to, the Receivership Entities and/or all Receivership

Property; such information shall include but not be limited to books,records, documents,accounts,

and all other instruments and papers (collectively,"Books and Records"). Notwithstanding the

foregoing, the Individual Defendants and their counsel shall be under no obligation to provide any

Pre-Appointment Privileged Materials to the Receiver, and the Receiver shall not be permitted to

receive or review any Pre-Appointment Privileged Materials absent leave of the Court. To the

extent any of the Books and Records contains information protected by any personal attorney-client

privilege of any of the Individual Defendants ("Personal Privileged Materials"), the Individual
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Defendants also shall be under no obligation to provide any Personal Privileged Materials to the

Receiver,and the Receiver shall not be permitted to receive or review any Personal Privileged

Materials absent leave of the Court.

        Within fourteen (14) days of the entry of this Order,the Named Individuals shall provide to

the Receiver and the Commission a sworn statement listing, to the best of their knowledge,(a) all

Receivership Assets,including the bank, securities, or other financial institution accounts holding

such Receivership Assets,(b) all Individual Assets,including the bank, securities, or other financial
institution accounts holding such Individual Assets, and (c) aU liabilities of either the Receivership

Entities or the Named Individuals. The sworn statement shall also state that, to the best of the

Named Individuals* knowledge,all books and records required to be provided to the Receiver by

Section VI, below, have been provided to the Receiver.

        All of the Individual Defendants shall cooperate fully with the Receiver in the Receiver's

efforts to cany out the obligations and duties set out above, subject to the Individual Defendants'

constitutional rights as noted below. To that end,the Individual Defendants shall reasonably make
themselves available through counsel or in person with the consent of their counsel to provide the
Receiver with information and assist the Receiver in transferring any assets covered by this Order to

the Receiver's control. The Receivership Entities are also required to assist the Receiver in fulfilling

the Receiver's duties and obligations. As such, they must respond promptly and truthfully to all

requests for information and documents from die Receiver.

        The Receivership Entities' past and/or present officers, directors, agents, attorneys,

managers,shareholders, employees,accountants, debtors, creditors, managers,general and limited
partners, and other appropriate persons or entities shall answer under oath to the Receiver all
questions which the Receiver may put to them and produce all documents as required by the
Receiver regarding the business of the Receivership Entities, or any other matter relevant to the
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opefation oi* administration of the Receivership Estate or tlie collection of funds due to the

Receivership Entities or the Individual Defendants. Notwithstanding the foregoing, the Individual

Defendants shall answer under oath or proffer truthful but unsworn information through their

counsel answering all questions which the Receiver may put to them and produce all documents as

required by the Receiver regarding the business of the Receivership Entities, or any other matter

relevant to the operation or administration of the Receivership Estate or the collection of funds due

to the Receivership Entities or the Individual Defendants. In the event lhat the Receiver deems it

necessary to require the appearance of the aforementioned persons or entities, the Receiver shall

make its discovery requests in accordance with the Federal Rules of Civil Procedure and applicable

Local Civil Rules.


        Notwithstanding the foregoing, the Individual Defendants shall reserve any rights they may

have to decline to respond to questions or requests by the Receiver under the Fifth or Sixth

Amendment of the United States Constitution,and nothing in this Order shall be construed as a

waiver of their Fifth and Sixth Amendment rights.

                       VI.     Access to Books. Records, and Accounts


       The Receiver is authorized to take immediate possession of all assets, bank accounts, or

other financial accounts, books and records and all other documents or instruments subject to this

Order, with the exception ofPre-Appointment Privileged Materials as discussed above. All persons

and entities having control, custody,or possession of any Receivership Property are hereby directed

to turn such property over to the Receiver.

       The Receivership Entities as well as their agents, servants, employees, attomeys,any persons

acting for or on behalf of the Receiversliip Entities, and any persons receiving notice of this Order

by personal service,facsimile transmission or otherwise, having possession of the property, business.
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books,records, accounts,or Receivership Property and/or Recoverable Assets are hereby directed

to deliver the same to the Receiver, tlie Receiver's agents, and/or the Receiver's employees.

        All banks, brokerage firms,financial institutions, and other persons or entities which have

possession, custody,or control of any Receivership Property or any assets or funds held by,in the

name of, or for the benefit of, the Receivership Entities that receive actual notice of this Order by

personal service, facsimile transmission or otherwise shall:

        A.      Not liquidate, transfer, sell, convey, or otherwise transfer any assets, securities, funds,
                or accounts in the name of or for the benefit of the Receivership Entities except
                upon instructions from the Receiver;

        B.      Not exercise any form of set-off, alleged set-off,lien, or any form of self-help
                whatsoever, or refuse to transfer any funds or assets to the Receiver's control
                without the permission of this Court;

        C.      Within five (5) business days of receipt of that notice, serve on the Receiver and
                counsel for die Commission a certified statement setting forth, widi respect to each
                such account or other asset, the balance in the account or description of the assets as
                of the close of business on the date of receipt of the notice; and,

        D.      Cooperate expeditiously in providing information and transferring funds,assets, and
                accounts to the Receiver or at the direction of the Receiver.

        Any other third parties that may have relevant documentation or information concerning

Pre-IPO Shares,such as the companies that issued the Pre-IPO Shares, the transfer agents for those

companies,and the counterparties with whom the Receivership Entities and/or the Individual

Defendants contracted in order to acquire Pre-IPO Shares,shall cooperate with the Receiver in

fulfilling the Receiver's duties as set forth in this Order.

                         VII.    Access to Real and Personal Property

        The Receiver is authorized to take immediate possession of the Recoverable Assets and all

personal property of the Receivership Entities, wherever located,including but not limited to

electronically stored information, computers,laptops, hard drives, external storage drives, and any

other such memory, media or electronic storage devices, books, papers, data processing records,

evidence ofindebtedness, bank records and accounts,savings records and accounts, brokerage
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records and accounts, certificates of deposit, stocks, bonds,debentures, and other securities and

investments, contracts, mortgages, furniture, office supplies, and equipment. Notwithstanding the

foregoing, Books and Records of the Receivership Entities and Pre-Appointment Privileged

Materials as well as Personal Privileged Materials shall be handled in accordance with the procedure

as set forth in Section V above.


         The Receiver is authorized to open all mail directed to or received by or at the offices or

post office boxes of the Receivership Entities, and to inspect all mail opened prior to the entry of

this Order, to determine whether items or information therein fall within the mandates of this

Order.


                         VIII, Notice to Third Parties


         The Receiver shall prompdy give notice of the Receiver's appointment to all Imown officers,

directors, agents, employees, shareholders, creditors, debtors, managers and members of the

Receivership Entities, as the Receiver deems necessary or advisable to effectuate the operation of

tlie receiversliip.

         All persons and entities owing any obligation, debt,or distribution witli respect to

Recoverable Assets or Receivership Assets shall, until fuitlier ordered by this Court, pay all such

obligations in accordance with the terms thereof to the Receiver and its receipt for such payments

shall have the same force and effect as if the Receivership Entity had received such payment.

         In fiirtlierance of the Receiver's responsibilities in this matter, the Receiver is authorized to

communicate with, and/or serve this Order upon,any person, entity, or government office that he

deems appropriate to inform them of the status of this matter and/or the financial condition of the

Receivership Estate. All government offices which maintain public files of security interests in real

and personal property shall, consistent with such office's applicable procedures, record this Order

upon the request of the Receiver or the Commission.



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        The Receiver is authorized to instruct the United States Postmaster to hold and/or reroute

mail wliich is related, directly or indirectly, to the business, operations or activities of any of the

Receivership Entities (the "Receiver's Mail"),including all mail addressed to, or for the benefit of,

the Receivership Entities. The Postmaster shall not comply with, and shall immediately report to

the Receiver, any change of address or other instruction given by anyone other than the Receiver

concerning the Receiver's Mail. The Receivership Entities shall not open any of the Receiver's Mail

and shall immediately turn over such mail,regardless of when received, to tlie Receiver. All personal

mail of any Individual Defendants,and/or any mail appearing to contain privileged information,

and/or any mail not falling within the mandate of the Receiver, shall be released to the named

addressee by the Receiver. The foregoing instructions shall apply to any proprietor, whether

individual or entity, of any private mail box, depository, business or service, or mail courier or

delivery service, hired, rented or used by the Receivership Entities. The Receivership Entities shall

not open a new mailbox,or take any steps or make any arrangements to receive mailin

contravention of this Order,whether through the U.S. mail, a private mail depository or courier

service.


        Subject to payment for services provided, any entity furnishing water, electric, telephone,

sewage,garbage, or trash removal services to the Receivership Entities shall maintain such service

and transfer any such accounts to the Receiver unless instructed to the contrary by the Receiver.

                         IX.     Injunction Against ItLterference with Receiver

        The Receivership Entities, the Individual Defendants, and ail persons receiving notice of this

Order by personal service, facsimile, or otherwise, are,subject to the terms of this Order,hereby

restrained and enjoined from direcdy or indirectly taking any action or causing any action to be

taken, without the express written agreement of the Receiver, which would:

           A.   Interfere with the Receiver's efforts to take control, possession, or management of
                any Receivership Property;such prohibited actions include, but are not limited to,

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               using self-help oi* executing of issuing or causing the execution or issuance of any
               court attachment, subpoena,replevin,execution, or other process for the purpose of
               impounding or taking possession of or interfering Tvith or creating or enforcing a lien
               upon any Receivership Property;

       B.      Hinder,obstruct or otherwise interfere with the Receiver in the performance of the
               Receiver's duties; such prohibited actions include but are not limited to, concealing,
               destroying or altering records or information;

       C.      Dissipate or otherwise dimitiish the value of any Receivership Property; such
               prohibited actions include but are not limited to, releasing claims or disposing,
               transferring, exchanging, assigning or in any way conveying any Receivership
               Property, enforcing judgments, assessments or claims against any Receivership
               Property or any Receivership Entity, attempting to modify, cancel, terminate, call,
               extinguish,revoke, or accelerate the due date of any lease,loan, mortgage,
               indebtedness, security agreement or other agreement executed by any Receivership
               Entity or which otherwise affects any Receivership Property; or,

       D.      Interfere with or harass the Receiver, or interfere in any manner with the exclusive
               jurisdiction of this Court over die Receivership Estate.

       The Receiver shall promptly notify the Court and the Commission's counsel ofany failure or

apparent failure of any person or entity to comply in any way with the terms of this Order.

                       X,      Stay of Litig-ation

       As set forth in detail below, the following proceedings, excluding the instant proceeding and

all police or regulatory actions and actions of the Commission related to the above-captioned

enforcement action, are stayed until further Order ofthis Court:

       All civil legal proceedings of any nature,including, but not limited to, bankruptcy
       proceedings, arbitration proceedings, foreclosure actions, default proceedings, or other
       actions of any nature involving: (a) the Receiver,in his or her capacity as Receiver;(b) any
       Receivership Property, wherever located;(c) any of the Receivership Entities including
       subsidiaries and affiliates; or (d) any of the Receivership Entities' past or present officers,
       directors, managers,agents, or members sued for, or in connection with, any action taken by
       them while acting in such capacity of any nature, whether as plaintiff, defendant,third-party
       plaintiff, third-party defendant, or otherwise (such proceedings are hereinafter referred to as
       "Ancillary Proceedings").

       The parties to any and all Ancillary Proceedings are enjoined firom commencing or

continuing any such legal proceeding, or from taking any action,in connection with any such

proceeding,including, but not limited to, the issuance or employment of process.


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          All Ancillary Proceedings are stayed in their entirety, and all Courts having any jurisdiction

thereof are enjoined fi:om taking or permitting any action until further Order of this Court.

Further, as to a cause of action accrued or accruing in favor of one or more of tlie Receivership

Entities against a third person or party, any applicable statute oflimitation is tolled during the period

in which this injunction against commencement of legal proceedings is in effect as to that cause of

action.


          The 2icUon Admoiy Management Ltd v. StraightPath Venture Partners UlX., Civ. No.

153453/2021 (N.Y. Sup. Ct),is an Ancillary Proceeding.

          The parties to any current or prospective Ancillary Proceedings may seek relief from the

provisions of this Section from the Court, after first notifying the Receiver, the Commission

counsel, and the Individual Defendants' counsel of their intent to do so on three (3) business days

notice so that they may provide their respective positions on the application.

                          XI.     Managing Assets

          The Receiver shall establish one or more custodial accounts at a federally insured bank to

receive and hold all cash equivalent Receivership Property (the ''Receivership Funds")including,

without limitation, the accounts described in Section VIII of the PI Order.

          The Individual Defendants may formulate and propose to the Receiver plans for the

liquidation and/or distribution to investors of any of the Receivership Estate, Receivership Assets,

Recoverable Assets and/or Receivership Property.

          If appropriate, the Receiver shall formulate and propose to the Court,on motion, plans for

the liquidation and/or distribution to investors of any of the Receivership Estate, Receivership

Assets, Recoverable Assets and/or Receiversliip Property.

          The Receiver may use the Escrow Funds for any appropriate purpose,including purchasing

Pre-IPO Shares to rectify any share shortfalls, provided diat the Receiver obtains Court approval for



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such use of the Escrow Funds through a motion to this Court. However,as set forth in Section

Vin of the PI Order,the Receiver shall not use more than $1,150,000 of the Escrow Funds for fees

and expenses associated with the operation of the receivership (such as,for example, fees to

compensate the Receiver and persons and entities retained to assist the Receiver). Any portion of

the Escrow Funds remaining at the end of the receivership shall be placed in a separate interest-

bearing escrow account on terms agreed upon by the parties to this Action (the "Remaining Escrow

Funds"),or ordered by the Court,in order to satisfy any judgment against the Named Individuals in

this Action. If no judgment is entered against the Named Individuals, the escrow agent may

disburse the Remaining Escrow Funds to the Named Individuals.

        Notwithstanding the foregoing, the Receiver may,without further Order of this Court,

transfer, compromise, or otherwise dispose of any Receivership Property, other than the Escrow

Funds,in the ordinary course of business, on terms and in die manner the Receiver deems most

beneficial to the Receivership Estate, and with due regard to the realization of the true and proper

value ofsuch Receivership Property, but in no event shall the Receiver malce any payments or

transfers of Receivership Property or Receivership Funds of a value in excess of$10,000.00 without

prior Order of die Court.

        Upon further Order of this Court, pursuant to such procedures as may be required by this

Court and additional authority such as 28 U.S.C. §§ 2001 and 2004, the Receiver will be autiioiized

to sell, and transfer clear tide to, all real property in the Receivership Estate.

        The Receiver is authorized to take all actions to manage, maintain,and/or wind-down

business operations of the Receivership Estate,including making legally required payments to

creditors, employees,and agents of the Receivership Estate and communicating with vendors,

investors, governmental and regulatory authorities, and others, as appropriate.




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       To the extent appropriate, the Receiver shall take all necessary steps to enable the

Receivership Funds to obtain and maintain the status of a taxable "Setdement Fund," within the

meaning of Section 468B of the Internal Revenue Code and of the regulations, when applicable

whether proposed, temporary or final, or pronouncements thereunder,including the filing of the

elections and statements contemplated by those provisions. The Receiver shall be designated the

administrator of the Settlement Fund,pursuant to Treas. Reg. § 1.468B-2(k)(3)(i), and shall satisfy

the administrative requirements imposed by Treas. Reg. § 1.468B-2,including but not limited to (a)

obtaining a taxpayer identification number,(b) timely filing applicable federal, state, and local tax

returns and paying taxes reported thereon, and (c) satisfying any information, reporting or

withholding requirements imposed on distributions from the Settlement Fund. The Receiver shall

cause the Settlement Fund to pay taxes in a manner consistent with treatment of the Settlement

Fund as a "Qualified Settlement Fund." The Receivership Entities and the Individual Defendants

shall cooperate with the Receiver in fulfilling the Settlement Funds'obligations under Treas. Reg.

§ 1.468B-2, subject to the Individual Defendants' constitutional rights as set forth above.

                        XII.    Investigate and Prosecute Claims

        Subject to the requirement,in Sections IV and X above,that leave of this Court is required

to resume or commence certain litigation, the Receiver is authorized, empowered,and directed to

investigate, prosecute, defend,intervene in or otherwise participate in, compromise,and/or adjust

actions in any state, federal or foreign court or proceeding of any kind as may in the Receiver's

discretion, and in consultation with the Commission's counsel, be advisable or proper to recover

and/or conserve Receivership Property.

        Subject to the Receiver's obligation to expend Receivership Funds in a reasonable and cost-

effective manner, the Receiver is authorized, empowered,and directed to investigate the manner in

which the financial and business affairs of the Receivership Entities were conducted and (after



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obtaining leave of this Coutt) to Institute such actions and legal proceedings, for the benefit and on

behalf of the Receivership Estate, as the Receiver deems necessary and appropriate; the Receiver

may seelc, among other legal and equitable relief, the imposition ofconstructive trusts, disgorgement

of profits, asset turnover, avoidance of fraudulent transfers, rescission and restitution, collection of

debts, and such other relief from this Court as may be necessary to enforce this Order. Where

appropriate, the Receiver should provide prior notice to Counsel for the Commission before

commencing such investigations and/or actions.

        The Receiver has a continuing duty to ensure that there are no conflicts ofinterest between

the Receiver,the Receiver's Retained Personnel(as that term is defined below),and the Receivership

Estate and/or Receivership Property.

                        XIII. Banlcruptcy Filings

        The Receiver may,upon no less than fourteen (14) days notice to the Commission and the

Individual Defendants,seek authorization of this Court to file voluntary petitions for relief under

Title 11 of the United States Code (the "Bankruptcy Code") for the Receivership Entities. If a

Receivership Entity is placed in bankruptcy proceedings, the Receiver may become,and may be
empowered to operate each of the Receivership Estates as, a debtor in possession. In such a

situation, the Receiver shall have all of the powers and duties as provided a debtor in possession

under the Bankruptcy Code to the exclusion of any other person or entity, subject to the limitations
of this Order and the PI Order. Pursuant to Section IV above,the Receiver is vested with

management authority for all Receivership Entities and may therefore file and manage a Chapter 11
petition.

        The provisions of Section X above bar any person or entity, other than the Receiver, from
placing any of the Receivership Entities in bankruptcy proceedings.




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                        XIV. liability of Receiver

        Until further Order of this Court, the Receiver shall not be required to post bond or give an

undertaking of any type in connection with the Receiver's fiduciary obligations in this matter.

        The Receiver and the Receiver's agents, acting within scope ofsuch agency ("Retained

Personnel"), are entitled to rely on all outstanding rules oflaw and Orders of this Court and shall

not be liable to anyone for their own good faith compliance with any order,rule, kw,judgment, or

decree. In no event shall the Receiver or Retained Personnel be liable to anyone for their good faith

compliance with their duties and responsibilities as Receiver or Retained Personnel nor shall the

Receiver or Retained Personnel be liable to anyone for any actions taken or omitted by them except

upon a finding by this Court that they acted or failed to act as a result of malfeasance, bad faith,

gross negligence, or in reckless disregard of their duties.

        This Court shall retain jurisdiction over any action filed against the Receiver or Retained

Personnel based upon acts or omissions committed in their representative capacities.

        In the event the Receiver decides to resign, the Receiver shall first give written notice to the

Commission's counsel ofrecord and the Court of its intention, and the resignation shall not be

effective until the Court appoints a successor. The Receiver shall then follow such instructions as

the Court may provide.

                        XV.     Recommendations and Reports

        The Receiver is authorized, empowered,and directed to develop a plan for the fait,

reasonable, and efficient recovery and liquidation of all remaining, recovered,and recoverable

Receivership Property. If appropriate, the Receiver is also authorized and empowered to develop a

plan for the fair, reasonable, and efficient distribution of the Receivership Property to investors in

any of the SP Funds. The Receiver shall seek Court approval by motion for any such liquidation or

distribution plan.



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          Within thirty (30) days after the entry of this Order, the Receiver shall file and serve a full

report and accounting of both Receivership Assets and Individual Assets (tlie "First Status Report*'),

reflecting (to the best of the Receiver's knowledge as of the period covered by the report) the

existence, value, and location of all Receivership Assets and Individual Assets, and of the extent of

liabilities, both those claimed to exist by others and those the Receiver believes to be legal

obligations of the Receivership Estate. To the extent necessary, and in compliance with the Local

Civil Rules in this District and/or the Court's individual rules, the Receiver may file portions of the

First Status Report under seal. For good cause shown,the Receiver may seek leave of Court to

extend the date by wliich to file the First Status Report.

          Within thirty (30) days after the end of each calendar quarter, the Receiver shall file and

serve a full report and accounting of each Receivership Estate (the "Quarterly Status Report"),

reflecting (to the best of the Receiver's knowledge as of tlie period covered by the report) the

existence, value, and location of all Receivership Property, and of the extent of liabilities, both those

claimed to exist by others and those the Receiver believes to be legal obligations of the Receivership

Estate.


          The Quarterly Status Report shall contain the following:

          A.      A summary of the operations of the Receiver;

          B.      The amount of cash on hand, the amount and nature of accrued administrative
                  expenses, and the amount of unencumbered funds in the Receivership Estate;
          C.      An itemization by SP Fund series of the number ofPre-IPO Shares purchased by
                  each SP Fund series;

          D.      An itemization by SP Fund series of the number ofinvestment interests in Pre-IPO
                  Shares sold to investors by each SP Fund series, the SP Fund Manager,or the SP
                  Adviser;

          E.      An inventory of the Pre-IPO Shares held by the Receivership Entities;

          F.      A schedule of all the Receiver's receipts and disbursements (attached as Exhibit A to
                  the Quarterly Status Report), with one column for the quarterly period covered and a
                  second column for the entire duration of the receivership;


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        G.      A description of all known Receivership Property,including approximate or actual
                valuations, anticipated or proposed dispositions, and reasons for retaining assets
                where no disposition is intended;

        H.      A description of liquidated and unliquidated claims held by the Receivership Estate,
                including the need for forensic and/or investigatory resources; approximate
                valuations of claims; and anticipated or proposed methods of enforcing such claims
               (including likelihood of success in:(i) reducing the claims to judgment; and,
                collecting such judgments);

        I.      A list of all known creditors with their addresses and the amounts of their claims;

       J.       The status of any creditor claims process or proceeding, after such process or
                proceeding have been commenced; and

        K.      The Receiver's recommendations for a continuation or discontinuation of the
                receivership and the reasons for the recommendations.

        To the extent necessary,and in compliance with the Local Civil Rules in this District and/or
the Court's individual rules, the Receiver may file portions of the Quarterly Status Report under seaL

        On the request of the Commission,the Receiver shall provide the Commission with any

documentation that the Commission deems necessary to meet its reporting requirements, that is

mandated by statute or Congress, or that is otherwise necessary to further the Commission's

mission.


                        XVI. Fees. Expenses,and Accountings

        Subject to the provisions in Section XI above and immediately below, the Receiver need not

obtain Court approval prior to the disbursement of Receivership Funds for expenses in the ordinary

course of the administration and operation of the receivership. Further, prior Court approval is not

required for payments of applicable federal, state, or local taxes.

        Subject to the following provision,the Receiver is authorized to solicit persons and entities

to assist the Receiver in carrying out the duties and responsibilities described in this Order ^.e..

Retained Personnel). The Receiver shall not engage any Retained Personnel without first obtaining

an Order of the Court authorizing such engagement.




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        The Receiver and Retained Personnel are entided to reasonable compensation and expense

reimbursement from the Receivership Estates as described in die Billing Instmctions agreed to by

the Receiver. Such compensation shall require die prior approval of the Court.

        Within forty-five (45) days after the end of each calendar quarter, the Receiver and Retained

Personnel shall apply to the Court for compensation and expense reimbursement from the

Receivership Estates (the "Quarterly Fee Applications"). At least thirty(30) days prior to filing each

Quarterly Fee Application widi the Court, the Receiver will serve upon counsel for the

Commission a complete copy of the proposed Application, together with all exhibits and relevant

billing information in a format to be provided by die Commission.

        AU Quarterly Fee Applications will be interim and will be subject to cost benefit and final

reviews at the close of the receivership. At the close of the receivership, the Receiver will file a final

fee application, describing in detail the costs and benefits associated with all litigation and other

actions pursued by the Receiver during the course of the receivership.

        Quarterly Fee Applications may be subject to a holdback in the amount of20% of the

amount of fees and expenses for each application filed with the Court in the Commission staffs

discretion or such other percentage holdback as the Court may order on its own motion or on the

request of the Commission or the Individual Defendants. The total amounts held back during the

course of the receivership will be paid out at the discretion of the Court as part of the final fee

application submitted at the close of the receivership.

        Each Quarterly Fee Application shall:

        A.      Comply with the terms of the Billing Instructions agreed to by the Receiver, and,
        B.      Contain representations (in addition to the Certification required by the Billing
                Instmctions) that:(i) the fees and expenses included therein were incurred in the best
                interests of the Receivership Estate; and,(ii) with the exception of the Billing
                Instructions, the Receiver has not entered into any agreement, written or oral,
                express, or implied, with any person or entity concerning the amount of
                compensation paid or to be paid from the Receivership Estate, or any sharing
                thereof.



                                                    20
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         At tlie close of the Receivership,the Receiver shall submit a Final Accounting,in a format to
be provided by the Commission's staff, as well as the Receiver's final application for compensation
and expense reimbursement.

                        XVII. Defendants' Rights to Object

         Nothing herein shall be construed to prevent the Individual Defendants from filing or

opposing any motions concerning the receivership or any actions or omissions by the Receiver.



SO ORDERED.


Dated:              <4.2022
         New York, New York


                                                       Hon. Lewis A. Kaplan
                                                       United States DistrictJudge




                                                  21
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                               EXPnBITA*




SP Ventute Partners IXC     TD Amentrade       Brokerage              1351

SP Ventures Fund 2 LLC      Signature Bank     Bank                   4495
SP Ventures Fund 2 LLC      Axos Clearing      Brokerage              0887
SP Ventures Fund 2 LLC      Pershing           Brokerage              8866
SP Ventures Fund 2LLC       RBC                Brokerage              4659

SP Ventures Fund 2 LLC      TD Ameiitrade      Brokerage              1363
SP Ventures Fund 3 LLC      Signature Bank     Bank                   4883

SP Ventures Fund 3 LLC      Axos Clearing      Brokerage              1083

SP Ventures Fund 3 LLC      Axos Clearing      Brokerage              1202

SP Ventures Fund 3 LLC      Pershing           Brokerage              8874

SP Ventures Fund 3 LLC      RBC                Brokerage              4669
SP Ventures Fund 4 LLC      Signature Bank     Bank                   8005
SP Ventures Fund 4 LLC      Axos Clearing      Brokerage              3933
SP Ventures Fund 4 LLC      Pershing           Brokerage              8882

SP Ventures Fund 4 LLC      RBC                Brokerage              4861

SP Ventures Fund 5 LLC      Signature Bank     Bank                   8080

SP Ventures Fund 5 LLC      Axos Clearing      Brokerage              8131

SP Ventures Fund 5 LLC      Pershing           Brokerage              8890

SP Ventures Fund 5 LLC      RBC                Brokerage              4862

SP Ventures Fund 6 LLC      Signature Bank     Bank                   8099

SP Ventures Fund 6 LLC      Axos Clearing      Brokerage              5683

SP Ventures Fund 6 LLC      Pershing           Brokerage              8908

SP Ventures Fund 6 LLC      RBC                Brokerage              4868

SP Ventures Fund 7 LLC      Signature Bank     Bank                   3459
SP Ventures Fund 7 LLC      Axos Qearing       Brokerage              5580

SP Ventures Fund 7 LLC      Pershing           Brokerage              8916

SP Ventures Fund 7 LLC      RBC                Brokerage              4869
SP Ventures Fund 8 LLC      Signature Bank     Bank                   3467

SP Ventures Fund 8 LLC      Axos Clearing      Brokerage              0017

SP Ventures Fund 8 LLC      Axos Clearing      Brokerage              2953

SP Ventures Fund 8 LLC      Pershing           Brokerage              8924

SP Ventures Fund 8 LLC      RBC                Brokerage              2756

SP Ventures Fund 8 LLC      StoneX Financial   Brokerage              4098
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 SP Ventures Fund 9 LLC                Signature Bank            Bank                           5329
 SP Ventures Fund LLC                  JPMorgan Chase            Bank                           9821

 SP Ventures Fund LLC                  Signature Bank            Bank                           2298
 SP Ventures Fund LLC                  Axos Clearing             Brokerage                      3063
 SP Ventures Fund LLC                  Pershing                  Brokerage                      8791
 SP Ventures Fund LLC                   RBC                      Brokerage                      4658
 SP Ventures Fund LLC                   TD Ameritrade            Brokerage                      1330
 StraightPath Holdings Inc             JPMorgan Chase            Bank                           2527
 StraightPath Holdings LLC             Signature Bank            Bank                           2670

 StraightPath Management Inc           JPMorgan Chase            Bank                           9678
 StraightPath Management LLC           Signature Bank            Bank                           2689
 Strai^tpath Venture Partners          Axos Clearing             Brokerage                      0163

 Straightpadi Venture Partners          RBC                      Brokerage                      4657
 StraightPath Venture Partners Inc     JPMorgan Chase            Bank                           7691
 StraightPath Venture Partners LLC     Signature Bank            Bank                           2662
 Straightpath Venture Ptnrs LLC        Pei-shing                 Brokerage                      8767
 StraightPath Venture Farmers LLC                                Transfer
                                        Computershare                                           3042
 (Blend securities)                                              Agent


*Inclusion of these assets is not an admission or reference that any such asset constitutes,is derived
from, or is traceable to proceeds of the alleged securities law violadons asserted by the SEC.
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                                            EXHIBIT B*




 Automation
 Anywhere
 Chime
 Dataminr

 Eat }ust
 Flexport
 Impossible Foods
 Insurance Zebra
 Klarna
 Kraken
 Plaid
 Rubrik
 Scopely
 SpaceX
 ThoufihtSpot
 Trillei-
 Virgin Hyperloop
 ZiDiinc


inclusion of diese assets is not an admission or reference that any such asset constitutes,is derived
from,or is traceable to proceeds of the alleged securities law violations asserted by the SEC.
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                                             EXPCBIT C*

Personal Financial Accounts


                                                                    :A]^wntType      ILaslF^g


              Brian Martinsen

NissLLC                                 Chase Bank                Bank Savinj^             2839
Niss LLC                                Chase Bank                Bank Checkinp;           5267
BKM Consulting                           Chase Bank               Bank Savings             8616
BKM Consulting                          Chase Bank                Bank Checking            3967
BKM Consulting                          Chase Bank                Bank Checking            5668
Brian and Amanda                        Chase Bank                Bank Savings             2655
Brian Mardnsen                          Chase Bank                Bank Savings             5703
Niss LLC                                Charles Schwab            Brokeraae                1015
BKM Consulting                          Charles Schwab            Brokerage                 437
BKM Consulting SEP IRA Brian and
Amanda                                  Charles Schwab            Brokerage                 489
                                                                  Custodial
Brian Martinsen                         Coinbase Account          Cryptocurrency   n/a
             Michael Casthlero

Charee Corp.                            Chase Bank                Banlc                    6776
Charee Corp.                            Chase Bank                Bank                     6780
Charee Corp.                            Wells Fargo               Bank                     1533
Michael Castillero                      Citibank                  Bank                     6147
Michael Castillero                      Bank of America           Bank                      576
Michael Castillero - Individually       TD Ameritrade             Brokerage                1734
Michael Castillero - SEP IRA            TD Ameritrade             Brokerage                2267
                                                                  Custodial
Michael Castillero                      Coinbase Account          Cryptocurrency   n/a
24 Haywood LLC                          Chase Bank                Banlr                    6776
24 Haywood LLC                          Chase Bank                Bank Savings             9589
Nikki CastOlero**                       Chase Bank                Bank Checking            4548
             Francine Lanaia

Francine Lanaia                         Capital One               Bank Checking            1986
Francine Lanaia                         Capital One               Bank Savings              201
                                        Bethpage Federal Credit
Francine Lanaia                         Union                     Credit Union             5754
Francine Lanaia                         Jovia Credit Union        Credit Union             1901
Francine Lanaia                         Chase Bank                Bank                     9297
Francine Lanaia                         TD Bank                   Bank
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                                                '^6eQ?ftefifl5-§'i¥ti88M§2/2?a|%§g §y%


Francine Lanaia                                Ameriprise                   Brokerage                            5133
Francine Lanaia - Individually                 TD Ameritrade                Brokerage                            5519
Francine Lanaia - SEP IRA                      TD Ameritrade                Brokerage                            7520




                                 Brian Martinsen

          Vehicle # 1 License Plate XXX-XXX
          Vehicle # 2license Plate XXX-XXX
          Vehicle #3license Plate XXX-XXX
          Watches/Jewelry
          Prop plane
          Shared ownership Boat(with Michael Castiliero)
          Boat
                                 Michael Castiliero

          Vehicle # 1 License Plate XXX-XXX
          Vehicle # 2 License Plate XXX-XXX
          Vehicle # 3 License Plate XXX-XXX
          Vehicle # 4 License Plate XXX-XXX
          Vehicle # 5 License Plate XXX-XXX
          Watches/Jewelry
          Shared ownership Boat(with Brian Martinsen)
          Commodities(Gold)
                                 Francine Lanaia

          Vehicle # 1 License Plate XXX-XXX
          Vehicle # 2 License Plate XXX-XXX
          Commodities (Gold)


         *Exhibit C consists of material individual assets of Brian Martinsen, Michael Castiliero and Francine
         Lanaia that have been identified based on good faith efforts under the time constraints imposed as a
         result of the SEC's pending motion and request for expedited discovery. Inclusion of these assets is
         not an admission or reference that any such asset constitutes, is derived from, or is traceable to
         proceeds of the alleged securities law violations asserted by the SEC.
         **Inclusion of Chase Bank Account ending -4548 is not an admission that Brian Martinsen, Fran
         Lanaia, or Michael CastiUero have direct or indirect ownership of diis property or a legal property
         interest in this property.
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                                              U.S. District Court
                                  Southern District of New York (Foley Square)
                               CIVIL DOCKET FOR CASE #: 1:22-cv-03897-LAK


          Securities and Exchange Commission v. Straightpath Venture        Date Filed: 05/13/2022
          Partners, LLC et al                                               Jury Demand: Plaintiff
          Assigned to: Judge Lewis A. Kaplan                                Nature of Suit: 850
          Cause: 15:77 Securities Fraud                                     Securities/Commodities
                                                                            Jurisdiction: U.S. Government Plaintiff
          Plaintiff
          Securities and Exchange Commission               represented by Philip Andrew Fortino
                                                                          Securities and Exchange Commission
                                                                          100 Pearl Street
                                                                          Suite 20-100
                                                                          New York, NY 10004-2616
                                                                          212-336-1014
                                                                          Email: fortinop@sec.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                              Lee Attix Greenwood
                                                                              U.S. Securities and Exchange Commission
                                                                              100 Pearl Street
                                                                              Suite 20-100
                                                                              New York, NY 10004-2616
                                                                              212-336-1060
                                                                              Email: greenwoodl@sec.gov
                                                                              ATTORNEY TO BE NOTICED

                                                                              Lara Shalov Mehraban
                                                                              Securities & Exchange Commission (3
                                                                              WFC)
                                                                              Brookfield Place
                                                                              200 Vesey Street, Suite 400
                                                                              New York, NY 10281
                                                                              (212) 336-0591
                                                                              Email: mehrabanl@sec.gov
                                                                              ATTORNEY TO BE NOTICED


          V.
          Defendant




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          Straightpath Venture Partners, LLC        represented by Scott Neal Sherman
                                                                   Nelson Mullins Scarborough & Riley LLP
                                                                   201 17th St NW
                                                                   Ste 1700
                                                                   Atlanta, GA 30363
                                                                   404-322-6231
                                                                   Fax: 404-322-6338
                                                                   Email: scott.sherman@nelsonmullins.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     Brian T Markley
                                                                     Cahill Gordon & Reindel LLP
                                                                     Cahill Gordon & Reindel LLP
                                                                     32 Old Slip
                                                                     10005
                                                                     New York, NY 10005
                                                                     212-701-3230
                                                                     Email: bmarkley@cahill.com
                                                                     ATTORNEY TO BE NOTICED

                                                                     Samson Aaron Enzer
                                                                     Cahill Gordon & Reindel LLP
                                                                     32 Old Slip
                                                                     New York, NY 10005
                                                                     212-701-3000
                                                                     Email: senzer@cahill.com
                                                                     ATTORNEY TO BE NOTICED

          Defendant
          Straightpath Management, LLC              represented by Scott Neal Sherman
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     Brian T Markley
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                     Samson Aaron Enzer
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

          Defendant
          Brian K. Martinsen                        represented by Scott Neal Sherman
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     Brian T Markley



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                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                     Samson Aaron Enzer
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

          Defendant
          Michael A. Castillero                     represented by Scott Neal Sherman
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     Brian T Markley
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                     Samson Aaron Enzer
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

          Defendant
          Francine A. Lanaia                        represented by Scott Neal Sherman
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     Brian T Markley
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                     Samson Aaron Enzer
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

          Defendant
          Eric D. Lachow                            represented by Scott Neal Sherman
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                     Brian T Markley
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                     Samson Aaron Enzer
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

          Receiver



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          Receiver                                             represented by Melanie L. Cyganowski
                                                                              Otterbourg P.C.
                                                                              230 Park Avenue
                                                                              New York, NY 10169
                                                                              (212)-661-9100
                                                                              Fax: 212 682 6104
                                                                              Email: mcyganowski@oshr.com
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED

          Receiver
          Court-Appointed Receiver                             represented by Melanie L. Cyganowski
                                                                              (See above for address)
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED

          Receiver
          Proposed Counsel for Melanie L.                      represented by Erik Bradley Weinick
          Cyganowski, as Court-Appointed                                      Otterbourg P.C.
          Receiver                                                            230 Park Avenue
                                                                              New York, NY 10169
                                                                              (212)661-9100
                                                                              Fax: (212)368-7107
                                                                              Email: eweinick@oshr.com
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED

          Interested Party
          Melanie L. Cyganowski


          Date Filed         #   Docket Text
          05/13/2022         1 COMPLAINT against Michael A. Castillero, Eric D. Lachow, Francine A. Lanaia,
                               Brian K. Martinsen, Straightpath Management, LLC, Straightpath Venture Partners,
                               LLC. Document filed by Securities and Exchange Commission..(Mehraban, Lara)
                               (Entered: 05/13/2022)
          05/13/2022         2 NOTICE OF APPEARANCE by Philip Andrew Fortino on behalf of Securities and
                               Exchange Commission..(Fortino, Philip) (Entered: 05/13/2022)
          05/13/2022         3 NOTICE OF APPEARANCE by Lee Attix Greenwood on behalf of Securities and
                               Exchange Commission..(Greenwood, Lee) (Entered: 05/13/2022)
          05/13/2022         4 CIVIL COVER SHEET filed..(Fortino, Philip) (Entered: 05/13/2022)
          05/13/2022         5 EMERGENCY MOTION for Temporary Restraining Order . Document filed by
                               Securities and Exchange Commission..(Greenwood, Lee) (Refer to ECF Rule 13.19(b)
                               and (c) for directions regarding promptly alerting the court to this filing.

                                 ) (Entered: 05/13/2022)




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          05/13/2022    6 PROPOSED ORDER TO SHOW CAUSE WITH EMERGENCY RELIEF. Document
                          filed by Securities and Exchange Commission. Related Document Number: 5
                          ..(Greenwood, Lee) Proposed Order to Show Cause to be reviewed by Clerk's
                          Office staff. (Entered: 05/13/2022)
          05/13/2022    7 PROPOSED ORDER. Document filed by Securities and Exchange Commission.
                          Related Document Number: 5 ..(Greenwood, Lee) Proposed Order to be reviewed by
                          Clerk's Office staff. (Entered: 05/13/2022)
          05/13/2022    8 MEMORANDUM OF LAW in Support re: 5 EMERGENCY MOTION for Temporary
                          Restraining Order . . Document filed by Securities and Exchange Commission..
                          (Greenwood, Lee) (Entered: 05/13/2022)
          05/13/2022    9 DECLARATION of Steven G. Rawlings in Support re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order .. Document filed by Securities and Exchange
                          Commission..(Greenwood, Lee) (Entered: 05/13/2022)
          05/13/2022   10 DECLARATION of Douglas J. Smith in Support re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order .. Document filed by Securities and Exchange
                          Commission. (Attachments: # 1 Exhibit Summary of Amounts Raised, # 2 Exhibit
                          Amounts Raised & Refunded, # 3 Exhibit Summary of Shortfalls, # 4 Exhibit Shortfall
                          Details, # 5 Exhibit Summary of Commingling, # 6 Exhibit Summary of Payments to
                          Principals, # 7 Exhibit Payments to Principals (Detail), # 8 Exhibit Average Markups, #
                          9 Exhibit Summary of Bank Account Balances, # 10 Exhibit Summary of Amounts
                          Sent for Pre-IPO Shares).(Greenwood, Lee) (Entered: 05/13/2022)
          05/13/2022   11 DECLARATION of Debbie Chan in Support re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order .. Document filed by Securities and Exchange
                          Commission..(Greenwood, Lee) (Entered: 05/13/2022)
          05/13/2022       CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                           assigned to Judge Lewis A. Kaplan. Please download and review the Individual
                           Practices of the assigned District Judge, located at https://nysd.uscourts.gov/judges
                           /district-judges. Attorneys are responsible for providing courtesy copies to judges where
                           their Individual Practices require such. Please download and review the ECF Rules and
                           Instructions, located at https://nysd.uscourts.gov/rules/ecf-related-instructions..(vf)
                           (Entered: 05/13/2022)
          05/13/2022       Magistrate Judge Robert W. Lehrburger is so designated. Pursuant to 28 U.S.C. Section
                           636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
                           before a United States Magistrate Judge. Parties who wish to consent may access the
                           necessary form at the following link: https://nysd.uscourts.gov/sites/default/files
                           /2018-06/AO-3.pdf. (vf) (Entered: 05/13/2022)
          05/13/2022       Case Designated ECF. (vf) (Entered: 05/13/2022)
          05/13/2022   12 DECLARATION of Megan Genet in Support re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order .. Document filed by Securities and Exchange
                          Commission. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #
                          5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                          11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                          Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                          Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                          Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31



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                           Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                           Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39).(Greenwood, Lee)
                           (Entered: 05/13/2022)
          05/13/2022   13 NOTICE OF APPEARANCE by Samson Aaron Enzer on behalf of Michael A.
                          Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath
                          Management, LLC, Straightpath Venture Partners, LLC..(Enzer, Samson) (Entered:
                          05/13/2022)
          05/13/2022   14 NOTICE OF APPEARANCE by Brian T Markley on behalf of Michael A. Castillero,
                          Eric D. Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath Management,
                          LLC, Straightpath Venture Partners, LLC..(Markley, Brian) (Entered: 05/13/2022)
          05/13/2022       ***NOTICE TO COURT REGARDING PROPOSED ORDER TO SHOW
                           CAUSE WITH EMERGENCY RELIEF. Document No. 6 Proposed Order to
                           Show Cause With Emergency Relief, was reviewed and approved as to form. (nd)
                           (Entered: 05/13/2022)
          05/13/2022       ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 7
                           Proposed Order was reviewed and approved as to form. (nd) (Entered: 05/13/2022)
          05/13/2022       Oral Argument set for 5/13/2022 at 03:00 PM before Judge Lewis A. Kaplan via video-
                           conference. Counsel of record have been emailed invites to join the video-conference.
                           Public and press may dial in to listen. Listeners are asked to mute their phones upon
                           joining. Participants and listeners are reminded that recording or re-broadcasting of the
                           conference in whole or in part is prohibited by Court rules. +1 917-933-2166 Phone
                           Conference ID: 503 341 343# (Mohan, Andrew) (Entered: 05/13/2022)
          05/13/2022   15 RESPONSE in Opposition to Motion re: 5 EMERGENCY MOTION for Temporary
                          Restraining Order . . Document filed by Michael A. Castillero, Eric D. Lachow,
                          Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC, Straightpath
                          Venture Partners, LLC..(Enzer, Samson) (Entered: 05/13/2022)
          05/13/2022       Minute Entry for proceedings held before Judge Lewis A. Kaplan via video-conference:
                           Oral Argument held on 5/13/2022 re: 5 EMERGENCY MOTION for Temporary
                           Restraining Order . filed by Securities and Exchange Commission. (Court Reporter
                           Raquel Robles) (Mohan, Andrew) (Entered: 05/13/2022)
          05/13/2022   16 ORDER TO SHOW CAUSE, TEMPORARY RESTRAINING ORDER, AND ORDER
                          FREEZING ASSETS, AND GRANTING OTHER RELIEF: The Court has considered
                          (1) the Complaint filed by Plaintiff on May 13, 2022; (2) the Declaration of Douglas
                          Smith filed on May 13, 2022, and the exhibits thereto; (3) the Declaration of Megan
                          Genet filed on May 13, 2022, and the exhibits thereto; (4) the Local Civil Rule 6.1(d)
                          Declaration of Steven Rawlings filed on May 13, 2022; and (5) Plaintiffs Memorandum
                          of Law in Support of its Emergency Application for an Order to Show Cause,
                          Temporary Restraining Order, Preliminary Injunction, Asses Freeze, Receiver, and
                          Other Relief, filed on May 13, 2022 as well as defendant's written submission and oral
                          argument. NOW, THEREFORE, IT IS HEREBY ORDERED that Defendants show
                          cause, if there be any, to this Court at 3:00p.m. on the 26th of May 2022, in Room 21B
                          of the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York,
                          NY 10007, why this Court should not enter an Order pursuant to Rule 65 of the Federal
                          Rules of Civil Procedure, Securities Act Section 20(b), Exchange Act Section 21(d)(1),
                          and Advisers Act Section 209 preliminarily enjoining Defendants from Securities Act
                          Sections S(a), S(c) and 17(a); Exchange Act Sections 10(b) and 15(a) and Rule 106-5



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                           thereunder; and Advise.rs Act Section 206 and Rule 206(4)-8 thereunder. IT IS
                           FURTHER ORDERED that the SP Fund Manager, the SP Adviser, Martinsen,
                           Castillero, and Lanaia show cause at that time why this Court should not also enter an
                           Order appointing Receiver for the Receivership Entities and over the Individual assets.
                           As further set forth in this order. IT IS FURTHER ORDERED that, pending a hearing
                           and determination of Plaintiffs application for a preliminary injunction, all banks,
                           brokerage and other financial institutions and other persons or entities which receive
                           actual notice of this Order by personal service or otherwise, including facsimile
                           transmissions, electronic mail, or overnight delivery service, holding any funds or other
                           assets in the name, for the direct or indirect benefit, or under the direct or indirect
                           control of the SP Fund Manager, the SP Adviser, Martinsen, Castillero, and Lanaia or
                           over which they exercise actual or apparent investment or other authority (including
                           assets in the name of the SP Fund Manager, the SP Adviser, Martinsen, Castillero, and
                           Lanaia), in whatever form such assets may presently exist and wherever located
                           including but not limited to all such funds held in the accounts listed in Exhibit A and
                           which active consent and participation where any of the SP Fund Manager, The SP
                           Adviser, Martinsen, Castillero, and Lanaia, sale, As further set forth in this order. IT IS
                           FURTHER ORDERED that discovery in advance of a hearing on Plaintiffs application
                           for a preliminary injunction is expedited as follows: pursuant to Rules 26, 30, 31, 33,
                           34, 36 and 45 of the Federal Rules of Civil Procedure, and without the requirement of a
                           meeting pursuant to Fed. R. Civ. P. 26(f), the parties and the Receiver may: (1) Take
                           depositions, subject to two calendar days; notice by facsimile, email or otherwise, (2)
                           Obtain the production of documents, within three calendar days from service by
                           facsimile, email, or otherwise of a request or subpoena from any persons or entities,
                           including non-party witnesses; As further set forth in this Order. IT IS FURTHER
                           ORDERED that Defendants shall file any opposing papers in response to this Order to
                           Show Cause above no later than May 20, 2022. Service shall be made either by ECF or
                           by email on Plaintiff's counsel. Plaintiff shall have until May 25, 2022 to file any reply
                           papers upon Defendants, or upon their counsel, if counsel shall have made an
                           appearance in this action. IT IS FURTHER ORDERED that this Order shall be, and is,
                           binding upon Defendants, and each of their respective officers, agents, servants,
                           employees, attorneys-in-fact, subsidiaries, affiliates and those persons in active concert
                           or participation with them who receive actual notice of this Order by personal service,
                           facsimile service, or otherwise. SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                           5/13/2022) ( Show Cause Hearing set for 5/26/2022 at 03:00 PM in Courtroom 21B,
                           500 Pearl Street, New York, NY 10007 before Judge Lewis A. Kaplan.), ( Replies due
                           by 5/25/2022.) Show Cause Response due by 5/20/2022. (ks) (Entered: 05/13/2022)
          05/17/2022   17 MOTION for Scott N. Sherman to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                          number ANYSDC-26157272. Motion and supporting papers to be reviewed by
                          Clerk's Office staff. Document filed by Michael A. Castillero, Eric D. Lachow,
                          Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC, Straightpath
                          Venture Partners, LLC..(Markley, Brian) (Entered: 05/17/2022)
          05/17/2022   18 AFFIDAVIT of Scott N. Sherman in Support re: 17 MOTION for Scott N. Sherman to
                          Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-26157272.
                          Motion and supporting papers to be reviewed by Clerk's Office staff.. Document
                          filed by Michael A. Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K.
                          Martinsen, Straightpath Management, LLC, Straightpath Venture Partners, LLC.
                          (Attachments: # 1 Exhibit A - Certificate of Good Standing, Georgia, # 2 Exhibit B -
                          Certificate of Good Standing - Florida, # 3 Exhibit C - Certificate of Good Standing -
                          DC, # 4 Exhibit D - Certificate of Good Standing - Virginia, # 5 Text of Proposed Order


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                           Proposed Order).(Markley, Brian) (Entered: 05/17/2022)
          05/18/2022       Dial-In Information: The 5/26/2022 show cause hearing has been adjourned to a new
                           date of 6/1/22 at 3:00 PM in person. Audio access is available by dial-in for the public,
                           press, and non-participating counsel. The dial-in number is 1-888-363-4749 and enter
                           conference code 7664205#. It is prohibited by Court rules for listeners to record or re-
                           broadcast the hearing in whole or in part. (Mohan, Andrew) Modified on 5/25/2022
                           (Mohan, Andrew). (Entered: 05/18/2022)
          05/18/2022   19 MEMO ENDORSED ORDER granting 17 Motion for Scott N. Sherman to Appear Pro
                          Hac Vice. ENDORSEMENT: Granted. So Ordered. (Signed by Judge Lewis A. Kaplan
                          on 5/18/22) (yv) (Entered: 05/18/2022)
          05/18/2022   20 NOTICE OF APPEARANCE by Scott Neal Sherman on behalf of Michael A.
                          Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath
                          Management, LLC, Straightpath Venture Partners, LLC..(Sherman, Scott) (Entered:
                          05/18/2022)
          05/20/2022   21 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Joshua R. Lewin
                          to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-26176874.
                          Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                          filed by Michael A. Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K.
                          Martinsen, Straightpath Management, LLC, Straightpath Venture Partners,
                          LLC..(Markley, Brian) Modified on 5/23/2022 (sgz). (Entered: 05/20/2022)
          05/20/2022   22 AFFIDAVIT of Joshua R. Lewin in Support re: 21 MOTION for Joshua R. Lewin to
                          Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-26176874.
                          Motion and supporting papers to be reviewed by Clerk's Office staff.. Document
                          filed by Michael A. Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K.
                          Martinsen, Straightpath Management, LLC, Straightpath Venture Partners, LLC.
                          (Attachments: # 1 Exhibit A - Certificate of Good Standing, Georgia, # 2 Exhibit B -
                          Certificate of Good Standing - Florida, # 3 Text of Proposed Order Proposed Order).
                          (Markley, Brian) (Entered: 05/20/2022)
          05/20/2022   23 DECLARATION of Scott N. Sherman in Opposition re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order .. Document filed by Michael A. Castillero, Eric D.
                          Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC,
                          Straightpath Venture Partners, LLC. (Attachments: # 1 Exhibit 1 - Letter to SEC from
                          Straightpath, # 2 Exhibit 2 - Copy of Communications referred to in presentation, # 3
                          Exhibit 3 - Correspondence, # 4 Exhibit 4 - Press Release, # 5 Exhibit 5 - Deposition
                          Transcript, # 6 Exhibit 6 - Charts).(Markley, Brian) (Entered: 05/20/2022)
          05/20/2022   24 DECLARATION of Brian Markley in Opposition re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order .. Document filed by Michael A. Castillero, Eric D.
                          Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC,
                          Straightpath Venture Partners, LLC. (Attachments: # 1 Exhibit 1 - Amended Order
                          Appointing Monitor).(Markley, Brian) (Entered: 05/20/2022)
          05/21/2022   25 MEMORANDUM OF LAW in Opposition re: 5 EMERGENCY MOTION for
                          Temporary Restraining Order . . Document filed by Michael A. Castillero, Eric D.
                          Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC,
                          Straightpath Venture Partners, LLC..(Markley, Brian) (Entered: 05/21/2022)




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          05/23/2022       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                           VICE. Notice to RE-FILE Document No. 22 Affidavit in Support of Motion,, 21
                           MOTION for Joshua R. Lewin to Appear Pro Hac Vice . Filing fee $ 200.00,
                           receipt number ANYSDC-26176874. Motion and supporting papers to be reviewed
                           by Clerk's Office staff... The filing is deficient for the following reason(s): Affidavit
                           Missing Courts Admitted To;. Re-file the motion as a Motion to Appear Pro Hac
                           Vice - attach the correct signed PDF under the same Motion to Appear Pro Hac
                           Vice and include the Courts you are admitted to in the Affidavit - select the correct
                           named filer/filers - attach valid Certificates of Good Standing issued within the
                           past 30 days - attach Proposed Order. (sgz) (Entered: 05/23/2022)
          05/23/2022   26 LETTER MOTION to Compel the SEC to respond to two Document Requests
                          addressed to Judge Lewis A. Kaplan from Samson Enzer and Brian Markley dated May
                          23, 2022. Document filed by Michael A. Castillero, Eric D. Lachow, Francine A.
                          Lanaia, Brian K. Martinsen, Straightpath Management, LLC, Straightpath Venture
                          Partners, LLC. (Attachments: # 1 Affidavit Declaration of Good Faith Attempts, # 2
                          Exhibit 1 - Excerpted Responses and Objections).(Enzer, Samson) (Entered:
                          05/23/2022)
          05/23/2022   27 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Joshua R. Lewin
                          to Appear Pro Hac Vice (Receipt No. ANYSDC-26176874). Motion and supporting
                          papers to be reviewed by Clerk's Office staff. Document filed by Michael A.
                          Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath
                          Management, LLC, Straightpath Venture Partners, LLC. (Attachments: # 1 Affidavit
                          Joshua R. Lewin Affidavit in Support of Pro Hac Vice Application, # 2 Exhibit A -
                          Certificate of Good Standing, Georgia, # 3 Exhibit B - Certificate of Good Standing,
                          Florida).(Markley, Brian) Modified on 5/24/2022 (sgz). (Entered: 05/23/2022)
          05/23/2022   28 LETTER MOTION for Discovery Protective Order addressed to Judge Lewis A.
                          Kaplan from Philip A. Fortino dated May 23, 2022. Document filed by Securities and
                          Exchange Commission..(Fortino, Philip) (Entered: 05/23/2022)
          05/23/2022   29 ORDER with respect to 28 Letter Motion for Discovery. The deposition is stayed
                          pending determination of this motion. Defendants' opposing papers shall be filed no
                          later than close of business 5/25/2022. SO ORDERED. (Signed by Judge Lewis A.
                          Kaplan on 5/23/2022) (tg) (Entered: 05/23/2022)
          05/23/2022       Set/Reset Deadlines: Responses due by 5/25/2022 (tg) (Entered: 05/23/2022)
          05/23/2022   30 TRANSCRIPT of Proceedings re: CONFERENCE held on 5/13/2022 before Judge
                          Lewis A. Kaplan. Court Reporter/Transcriber: Raquel Robles, (212) 805-0300.
                          Transcript may be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                          that date it may be obtained through PACER. Redaction Request due 6/13/2022.
                          Redacted Transcript Deadline set for 6/23/2022. Release of Transcript Restriction set
                          for 8/22/2022..(Moya, Goretti) (Entered: 05/23/2022)




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           05/23/2022   31 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a CONFERENCE proceeding held on 5/13/22 has been filed by the
                           court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days....(Moya, Goretti)
                           (Entered: 05/23/2022)
           05/24/2022   32 JOINT LETTER MOTION to Adjourn Conference on Order to Show Cause addressed
                           to Judge Lewis A. Kaplan from Plaintiff Securities and Exchange Commission dated
                           May 24, 2022., JOINT LETTER MOTION for Extension of Time to File
                           Response/Reply as to 16 Order to Show Cause,,,,,,,,,,,,,,,,,, Set Deadlines,,,,,,,,,,,,,,,,, 29
                           Order on Motion for Discovery, addressed to Judge Lewis A. Kaplan from Plaintiff
                           Securities and Exchange Commission dated May 24, 2022. Document filed by
                           Securities and Exchange Commission..(Greenwood, Lee) (Entered: 05/24/2022)
           05/24/2022   33 ORDER granting 32 Letter Motion to Adjourn Conference; granting 32 Letter Motion
                           for Extension of Time to File Response/Reply re 32 JOINT LETTER MOTION to
                           Adjourn Conference on Order to Show Cause addressed to Judge Lewis A. Kaplan from
                           Plaintiff Securities and Exchange Commission dated May 24, 2022.JOINT LETTER
                           MOTION for Extension of Time to File Response/Reply as to 16 Order to Show
                           Cause,,,,,,,,,,,,,,,,,, Set Deadlines,,,,,,,,,,,,,,,,, 29 Order on Motion for Discovery,
                           addressed to Judge Lewis A. Kaplan from Plaintiff Secur The argument is adjourned
                           until June 1, 2022 at 3pm. The deadlines are extended as requested. The temporary
                           restraining Order and Order freezing assess and certain other relief shall remain in
                           effect, on consent, pending the determination of the motion for a preliminary injunction
                           and other relief. SO ORDERED.. (Signed by Judge Lewis A. Kaplan on 5/24/2022) (
                           Show Cause Hearing set for 6/1/2022 at 03:00 PM before Judge Lewis A. Kaplan.,
                           Replies due by 5/27/2022.) (ks) (Entered: 05/24/2022)
           05/24/2022        >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                             VICE. Notice to RE-FILE Document No. 27 MOTION for Joshua R. Lewin to
                             Appear Pro Hac Vice (Receipt No. ANYSDC-26176874). Motion and supporting
                             papers to be reviewed by Clerk's Office staff... The filing is deficient for the
                             following reason(s): missing Proposed Order; Wet Signature Needed On Motion;.
                             Re-file the motion as a Motion to Appear Pro Hac Vice - attach the correct signed
                             PDF - select the correct named filer/filers - attach valid Certificates of Good
                             Standing issued within the past 30 days - attach Proposed Order.. (sgz) (Entered:
                             05/24/2022)
           05/25/2022   34 LETTER addressed to Judge Lewis A. Kaplan from Brian Markley and Samson Enzer
                           dated 5/23/22 re: request that they be permitted to appear in person, regardless of
                           whether the SEC appears virtually. Document filed by Straightpath Management, LLC,
                           Straightpath Venture Partners, LLC.(yv) (Entered: 05/25/2022)
           05/25/2022   35 ENDORSED LETTER addressed to Judge Lewis A. Kaplan dated 5/23/22 re: request
                           permission to convert the Order to Show Cause hearing scheduled for May 26, 2022, to
                           a virtual hearing in light of a COVID-related issue and (2) to seek clarification as to
                           whether the Court intends to hold an evidentiary hearing on May 26 or simply oral
                           argument. ENDORSEMENT: The Commission's reliance, as a predicate for the drawing
                           of adverse inferences, on the fact that the defendants have executed or agreed to execute
                           declarations in which they assert their Fifth Amendment privilege in lieu of appearing
                           for depositions is misplaced. While it often is appropriate to draw adverse inferences in


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                            a civil case from an invocation of the privilege in response to particular questions, a
                            "blanket claim of Constitutional privilege" is "impermissible." Est. of Fisher v. Comm
                            'r, 905 F.2d 645,649 (2d Cir. 1990). Accordingly, the Court will not draw adverse
                            inferences from such blanket claims as reportedly have been or will be made here.
                            United States v. Mount Sinai Hosp., 256 F. Supp. 3d 443, 456 n.10 (S.D.N.Y. 2017). To
                            be sure, the Commission could seek an evidentiary hearing, call the defendants as
                            witnesses, put particular questions to them, thus putting them to the choice of invoking
                            the Fifth Amendment or answering, and seek an adverse inference with respect to any
                            matters as to which they may invoke. But that is very likely to prove a waste of time, as
                            the defendants could be put to the same choice at depositions in advance of the hearing
                            of the motion. The Court therefore directs the Commission either to depose any of the
                            defendants against whom it may wish to seek an adverse inference from any invocation
                            of the privilege or proceed with the pending motion without the benefit of adverse
                            inferences. See Fed. R. Evid. 611 (a)(2) (court empowered to exercise reasonable
                            control over the presentation of evidence to avoid wasting time). 2. The Court declines
                            now to determine whether an evidentiary hearing is necessary. Accordingly, the
                            Commission's request for clarification on that point is denied without prejudice to
                            renewal after the submission of further papers. Moreover, its request for a hybrid
                            hearing on May 26, 2022 has been mooted by the adjournment until June 1, 2022. SO
                            ORDERED. (Signed by Judge Lewis A. Kaplan on 5/25/22) (yv) (Entered: 05/25/2022)
           05/26/2022   36 JOINT LETTER MOTION to Adjourn Conference on Order to Show Cause in light of
                           resolution in principle addressed to Judge Lewis A. Kaplan from Plaintiff Securities and
                           Exchange Commission dated May 26, 2022., JOINT LETTER MOTION for Extension
                           of Time to File Response/Reply as to 33 Order on Motion to Adjourn Conference,,,,,
                           Order on Motion for Extension of Time to File Response/Reply,,,, addressed to Judge
                           Lewis A. Kaplan from Plaintiff Securities and Exchange Commission dated May 26,
                           2022. Document filed by Securities and Exchange Commission..(Greenwood, Lee)
                           (Entered: 05/26/2022)
           05/26/2022   37 ORDER granting 36 Letter Motion to Adjourn Conference; granting 36 Letter Motion
                           for Extension of Time to File Response/Reply re 36 JOINT LETTER MOTION to
                           Adjourn Conference on Order to Show Cause in light of resolution in principle
                           addressed to Judge Lewis A. Kaplan from Plaintiff Securities and Exchange
                           Commission dated May 26, 2022.JOINT LETTER MOTION for Extension of Time to
                           File Response/Reply as to 33 Order on Motion to Adjourn Conference, Order on
                           Motion for Extension of Time to File Response/Reply, addressed to Judge Lewis A.
                           Kaplan from Plaintiff. Granted. The existing order remains in effect until further order
                           of the Court.. (Signed by Judge Lewis A. Kaplan on 5/26/2022) (jca) (Entered:
                           05/26/2022)
           06/01/2022   38 WAIVER OF SERVICE RETURNED EXECUTED. Brian K. Martinsen waiver sent on
                           5/26/2022, answer due 7/25/2022. Document filed by Securities and Exchange
                           Commission..(Fortino, Philip) (Entered: 06/01/2022)
           06/01/2022   39 WAIVER OF SERVICE RETURNED EXECUTED. Michael A. Castillero waiver sent
                           on 5/26/2022, answer due 7/25/2022. Document filed by Securities and Exchange
                           Commission..(Fortino, Philip) (Entered: 06/01/2022)
           06/01/2022   40 WAIVER OF SERVICE RETURNED EXECUTED. Francine A. Lanaia waiver sent on
                           5/26/2022, answer due 7/25/2022. Document filed by Securities and Exchange
                           Commission..(Fortino, Philip) (Entered: 06/01/2022)



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           06/01/2022   41 WAIVER OF SERVICE RETURNED EXECUTED. Eric D. Lachow waiver sent on
                           5/26/2022, answer due 7/25/2022. Document filed by Securities and Exchange
                           Commission..(Fortino, Philip) (Entered: 06/01/2022)
           06/01/2022   42 WAIVER OF SERVICE RETURNED EXECUTED. Straightpath Management, LLC
                           waiver sent on 5/26/2022, answer due 7/25/2022. Document filed by Securities and
                           Exchange Commission..(Fortino, Philip) (Entered: 06/01/2022)
           06/01/2022   43 WAIVER OF SERVICE RETURNED EXECUTED. Straightpath Venture Partners,
                           LLC waiver sent on 5/25/2022, answer due 7/25/2022. Document filed by Securities
                           and Exchange Commission..(Fortino, Philip) (Entered: 06/01/2022)
           06/01/2022   44 PROPOSED CONSENT ORDER. Document filed by Securities and Exchange
                           Commission. (Attachments: # 1 Exhibit A).(Fortino, Philip) (Entered: 06/01/2022)
           06/01/2022   45 PROPOSED CONSENT ORDER. Document filed by Securities and Exchange
                           Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C).(Fortino,
                           Philip) (Entered: 06/01/2022)
           06/01/2022   46 ORDER. The parties have submitted proposed consent orders imposing a preliminary
                           injunction, granting other relief, and appointing a receiver. The parties are to notify the
                           Court promptly whether any of them intends to propose candidates for the position of
                           receiver and, if so, shall provide the Court with appropriate information concerning the
                           qualifications of any candidates as well as the economic terms on which any proposes
                           to serve. If none of the parties intends to propose any candidates, the Court shall be
                           notified no later than tomorrow. SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                           6/1/22) (yv) (Entered: 06/01/2022)
           06/02/2022   47 PROPOSED CONSENT ORDER. Document filed by Michael A. Castillero, Eric D.
                           Lachow, Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC,
                           Straightpath Venture Partners, LLC..(Markley, Brian) (Entered: 06/02/2022)
           06/02/2022   48 CONSENT ORDER PERMITTING SALE OF DEFENDANT CASTILLERO'S
                           PROPERTY. IT IS HEREBY ORDERED THAT: 1. The Property is unfrozen and
                           Castillero may proceed with the sale of the Property. 2. The net proceeds of the Property
                           sale shall be placed in Mr. Castillero's Bank of America account ending in x576 and
                           remain frozen until the Court enters the PI Order. 3. Upon entry of the PI Order and
                           receipt by Castillero of wire/ACH instructions for the Escrow Funds from the appointed
                           Receiver, Castillero shall contribute the net proceeds of the Property sale to the Escrow
                           Funds. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 6/2/22) (yv) (Entered:
                           06/02/2022)
           06/06/2022   49 MOTION for Joshua R. Lewin to Appear Pro Hac Vice Receipt # ANYSDC - 26176874.
                           Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                           filed by Michael A. Castillero, Eric D. Lachow, Francine A. Lanaia, Brian K.
                           Martinsen, Straightpath Management, LLC, Straightpath Venture Partners, LLC.
                           (Attachments: # 1 Affidavit of Joshua R. Lewin, # 2 Exhibit A - Certificate of Good
                           Standing - Georgia, # 3 Exhibit B - Certificate of Good Standing - Florida, # 4 Text of
                           Proposed Order Proposed Order).(Markley, Brian) Modified on 6/7/2022 (sgz).
                           (Entered: 06/06/2022)
           06/06/2022   50 ORDER. The Court is considering for appointment as receiver Hon. Melanie
                           Cyganowski, former Chief Judge of the United States Bankruptcy Court for the Eastern
                           District of New York and now a member of the firm Otterbourg P.C. A copy of her



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                            resume is attached.Any objections to the appointment of Judge Cyganowski shall be
                            filed on or before June 10, 2022. SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                            6/6/22) (yv) (Entered: 06/06/2022)
           06/06/2022   51 MEMO ENDORSEMENT granting 49 MOTION for Joshua R. Lewin to Appear Pro
                           Hac Vice. ENDORSEMENT: Granted. SO ORDERED. (Signed by Judge Lewis A.
                           Kaplan on 6/6/2022) (jca) (Entered: 06/06/2022)
           06/07/2022       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                            No. 49 MOTION for Joshua R. Lewin to Appear Pro Hac Vice Receipt # ANYSDC
                            - 26176874. Motion and supporting papers to be reviewed by Clerk's Office staff..
                            The document has been reviewed and there are no deficiencies. (sgz) (Entered:
                            06/07/2022)
           06/13/2022   52 LETTER addressed to Judge Lewis A. Kaplan from Scott N. Sherman dated June 10,
                           2022 re: Responding to the Court's Request for the Parties' Positions on the
                           Appointment of a Receiver. Document filed by Michael A. Castillero, Eric D. Lachow,
                           Francine A. Lanaia, Brian K. Martinsen, Straightpath Management, LLC, Straightpath
                           Venture Partners, LLC..(Enzer, Samson) (Entered: 06/13/2022)
           06/14/2022   53 LETTER addressed to Judge Lewis A. Kaplan from Melanie L. Cyganowski dated
                           6/14/2022 re: As a follow-up to my letter of June 13, 2022, and in response to Your
                           Honor's e-mail of June 14, 2022. Document filed by Melanie L. Cyganowski.(tg)
                           (Entered: 06/14/2022)
           06/14/2022   54 LETTER addressed to Judge Lewis A. Kaplan from Melanie L. Cyganowski dated
                           6/13/2022 re: Let me begin by expressing my gratitude to the Court and the parties for
                           continuing to consider my candidacy to serve as the receiver in this matter. Document
                           filed by Melanie L. Cyganowski.(tg) (Entered: 06/14/2022)
           06/14/2022   55 STIPULATION AND CONSENT ORDER IMPOSING PRELIMINARY
                           INJUNCTION AND OTHER RELIEF: NOW THEREFORE: IT IS HEREBY
                           ORDERED that, pending final disposition of this action, Defendants are restrained and
                           enjoined from violating Securities Act Section 17(a) [15 U.S.C. § 77q(a)], in the offer
                           or sale of any security by the use of any means or instruments of transportation or
                           communication in interstate commerce or by use of the mails, directly or indirectly: IT
                           IS FURTHER ORDERED that, Melanie L. Cyganowski, until further Order of this
                           Court, be and hereby is appointed to act as Receiver (the "Receiver") for the SP Fund
                           Manager, the SP Adviser, the SP Funds, and the Escrow Funds, as defined in Section
                           VIII below (collectively, the "Receivership Estate"), subject to all of the terms and
                           conditions set forth in the Consent Order Appointing Receiver entered herewith
                           ("Receiver Order"). IT IS FURTHER ORDERED that Martinsen, Castillero, and Lanaia
                           shall pay $15,000,000, plus the remainder of the unused retainer funds that Martinsen
                           provided to Nardella & Co. on or about May 9, 2022, which is at least $150,000
                           (collectively, the "Escrow Funds"), into a segregated interest-bearing account
                           established by and under the control of the Receiver. Martinsen, Castillero, and Lanaia
                           shall pay the Escrow Funds within five business days of the Receiver's appointment or
                           the unfreezing of the personal financial accounts (bank and brokerage) identified in
                           Exhibit C to the Receiver Order (whichever is later), except that up to $2,100,000 may
                           be paid later, as set forth in Section IX below. The Escrow Funds shall be subject to all
                           of the terms and conditions set forth in the Receiver Order. The Receiver may direct up
                           to $1,150,000 of the Escrow Funds to a segregated operating account to be used for fees
                           and expenses associated with the operation of the receivership (such as, for example,
                           fees to compensate the Receiver and persons and entities retained to assist the


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                            Receiver), subject to the terms of the Receiver Order; the other Escrow Funds shall not
                            be available to fund operating expenses. IT IS FURTHER ORDERED that the TRO is
                            hereby vacated and replaced with this Order and the Receiver Order. Accordingly, the
                            personal asset freeze imposed by the TRO on Martinsen, Castillero, and Lanaia is
                            hereby lifted, subject to the restraints on their real estate assets set forth in Section IX,
                            above. As further set forth by this Order. SO ORDERED. (Signed by Judge Lewis A.
                            Kaplan on 6/14/2022) (tg) Transmission to Finance Unit (Cashiers) for processing.
                            (Entered: 06/14/2022)
           06/14/2022   56 CONSENT ORDER APPOINTING RECEIVER: ACCORDINGLY, IT IS HEREBY
                           ORDERED THAT: I. Marshalling of Receivership Assets. This Court hereby takes
                           exclusive jurisdiction and possession of the assets, of whatever kind and wherever
                           situated, of the Receivership Entities. As further set forth by this Order. II. Appointment
                           of the Receiver. Until further Order of this Court, Melanie L. Cyganowski is hereby
                           appointed to serve without bond as receiver (the "Receiver") for the estate of the
                           Receivership Entities (collectively, the "Receivership Estate"). As further set forth by
                           this Order. SO ORDERED. (Signed by Judge Lewis A. Kaplan on 6/14/2022) (tg)
                           (Entered: 06/14/2022)
           06/15/2022   57 LETTER addressed to Judge Lewis A. Kaplan from Scott N. Sherman dated 6/13/2022
                           re: whether to appoint Judge Cyganowski as receiver over the Straight Path Fund
                           Manager and Funds in this case..(rro) (Entered: 06/15/2022)
           06/15/2022   58 MOTION to Approve Application to Approve the Retention of Otterbourg P.C.
                           Effective as of the Appointment Date . Document filed by Receiver. (Attachments: # 1
                           Exhibit Application to Approve the Retention of Otterbourg P.C. Effective as of the
                           Appointment Date, # 2 Exhibit Proposed Order, # 3 Exhibit Declaration of Erik B.
                           Weinick in Support of the Receiver's Application for Order Approving the Retention of
                           Otterbourg P.C. Effective as of the Appointments Date).(Cyganowski, Melanie)
                           (Entered: 06/15/2022)
           06/16/2022   59 NOTICE OF APPEARANCE by Melanie L. Cyganowski on behalf of Court-Appointed
                           Receiver..(Cyganowski, Melanie) (Entered: 06/16/2022)
           06/16/2022   60 NOTICE OF APPEARANCE by Erik Bradley Weinick on behalf of Proposed Counsel
                           for Melanie L. Cyganowski, as Court-Appointed Receiver..(Weinick, Erik) (Entered:
                           06/16/2022)
           06/16/2022   61 LETTER addressed to Judge Lewis A. Kaplan from Brian Markley, Samson Enzer,
                           Scott N. Sherman and Josh Lewin dated 6/16/2022 re: In response to the application
                           (dkt. 58) filed yesterday by the Court-appointed receiver, Melanie L. Cyganowski,
                           seeking the Court's authorization to retain her law firm as receiver's counsel in this case,
                           we respectfully submit this letter to inform Your Honor that our clients, the individual
                           defendants, have no objection to the application being granted at this juncture in the
                           proceedings, without prejudice to any objections that the individual defendants may
                           make in the future to challenge the receiver's appointment or actions. (mml) (Entered:
                           06/16/2022)
           06/21/2022   62 MOTION to Approve Application to Approve the Retention of Stout Risius, Ross LLC
                           Effective as of the Appointment Date . Document filed by Receiver. (Attachments: # 1
                           Exhibit Exhibit A Proposed Order, # 2 Exhibit Exhibit B Cohen Declaration, # 3
                           Exhibit Application of Stout Risius, Ross LLC).(Cyganowski, Melanie) (Entered:
                           06/21/2022)



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           06/23/2022   63 RESPONSE in Support of Motion re: 58 MOTION to Approve Application to Approve
                           the Retention of Otterbourg P.C. Effective as of the Appointment Date . / Supplemental
                           Disclosure of Otterbourg P.C. in Support of Receiver's Application to Retain Otterbourg
                           P.C. Effective As Of The Appointment Date. Document filed by Proposed Counsel for
                           Melanie L. Cyganowski, as Court-Appointed Receiver..(Weinick, Erik) (Entered:
                           06/23/2022)




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